                                                                                            03/29/2019


                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                     CHARLOTTESVILLE DIVISION

    BRENNAN M. GILMORE,
                                                        CASE NO. 3:18-cv-00017
                                        Plaintiff

                         v.                             MEMORANDUM OPINION

    ALEXANDER (“ALEX”) JONES, ET AL.,
                                                        JUDGE NORMAN K. MOON
                                     Defendants.

         Plaintiff Brennan Gilmore was among hundreds of individuals who gathered in

  Charlottesville, Virginia on August 12, 2017 to protest various white supremacist and neo-Nazi

  groups participating in the “Unite the Right” rally. As Gilmore recorded footage of protestors

  that afternoon, he captured James Alex Fields, Jr. driving into a crowd, killing Heather Heyer

  and injuring approximately thirty-six others. Gilmore posted this footage on Twitter, and the

  video quickly went viral.     Gilmore alleges that, in the days after August 12, Defendants

  published articles and videos falsely portraying him as a “deep state” operative who conspired to

  orchestrate violence in Charlottesville for political purposes. Gilmore brought suit in this Court

  against Defendants for defamation and intentional infliction of emotional distress (IIED).

         Defendants move to dismiss on multiple grounds. Various defendants move to dismiss

  pursuant to Fed. R. Civ. P. 12(b)(1), arguing that the Court lacks subject matter jurisdiction. All

  defendants move to dismiss under Fed. R. Civ. P. 12(b)(2), asserting that this Court cannot

  exercise personal jurisdiction over any defendant. All defendants contend under Fed. R. Civ. P.

  12(b)(6) that Gilmore fails to state claims against them for either defamation or IIED.




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         The Court holds that it can exercise diversity jurisdiction over this action pursuant to 28

  U.S.C. § 1332, and that it can exercise specific personal jurisdiction over all defendants except

  Defendant Allen B. West, who will be dismissed. The Court further holds that Gilmore has

  adequately pled defamation against Defendants but has not adequately pled IIED.             Thus,

  Gilmore’s defamation claims will survive, but his IIED claims will be dismissed.

                                                  PARTIES

         Gilmore brings claims for defamation and IIED against eleven defendants. The parties’

  alleged identities and roles are outlined below.

         I.      Plaintiff Brennan Gilmore (“Gilmore”)

         Gilmore is domiciled in Albemarle County, Virginia. (Am. Comp.1 ¶ 13). In 2017,

  Gilmore took leave from the U.S. State Department, where he is employed as a Foreign Service

  Officer. (Id.).    Gilmore served as chief of staff for Tom Perriello during Perriello’s 2017

  Virginia gubernatorial campaign.       (Id.).   He now serves as a business consultant for an

  information technology company. (Id.).

         II.     Defendant Scott Creighton (“Creighton”)

         Creighton is domiciled in Tampa, Florida, and is the owner and author of the website

  American Everyman.2 (Am. Comp. ¶ 19; dkt. 47-2 at 2). On August 13, 2017, Creighton wrote

  and published an article entitled “Charlottesville Attack, Brennan Gilmore and . . . the STOP

  KONY 2012 Pysop? What?”.           (Id.).   Creighton also allegedly published a video entitled

  “Charlottesville Attack: Brennan Gilmore – Witness or Accessory?” on the same day on the



  1
         “Am. Comp.” denotes Gilmore’s amended complaint. (Dkt. 29).
  2
         The link to the American Everyman website Gilmore provides is no longer functional due
  to the website’s suspension for “a violation of [WordPress.com’s] Terms of Service.” (Am.
  Comp. ¶ 19, n.13).
                                                     2

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  since-suspended American Everyman YouTube channel. (Am. Comp. ¶ 19).

         III.    Defendant James Hoft (“Hoft”)

         Domiciled in St. Louis, Missouri, Hoft is the owner and author of the website Gateway

  Pundit. (Am. Comp. ¶ 20; dkt. 47-3 at 2). On August 14, 2017, Hoft wrote and published an

  article entitled “Random Man at Protests Interviewed by MSNBC, NY Times Is Deep State Shill

  Linked to George Soros” on the Gateway Pundit website. (Id.).

         IV.     Defendant Lee Stranahan (“Stranahan”)

         On August 15, 2017, Stranahan appeared alongside Defendant Lee Ann McAdoo in a

  video posted on InfoWars.com entitled “Bombshell Connection Between Charlottesville, Soros,

  CIA.” (Am. Comp. ¶ 17; dkt. 29-6). A former employee of Breitbart News, Stranahan currently

  operates The Populist, a “political journalism” website. (Am. Comp. ¶ 17). Stranahan is also

  allegedly an employee of RT, a Russian television network that recently registered with the

  Department of Justice as a foreign agent. (Id.). Gilmore alleges that Stranahan is domiciled in

  Dallas, Texas but temporarily lives and works in the Washington, D.C. metropolitan area,

  “conduct[ing] business” from a “shared workspace in Arlington, Virginia.” (Id.). Stranahan is

  the only defendant who disputes that he is domiciled outside of Virginia. (Dkt. 47 at 8–9).

         V.      Defendant Lee Ann Fleissner, a.k.a. Lee Ann McAdoo (“McAdoo”)

         McAdoo is domiciled in Sarasota, Florida, and works as an independent contractor and

  reporter for Free Speech Systems, LLC, in which capacity she “produce[s] content for Infowars.”

  (Am. Comp. ¶ 18; dkt. 57-3 at 1). On August 15, 2017, McAdoo authored an article posted on

  the InfoWars website entitled “Bombshell Connection Between Charlottesville, Soros, CIA.”

  (Am. Comp. ¶ 18; dkt. 29-6). The article included a video “produced” by McAdoo of the same

  title, featuring McAdoo interviewing Stranahan. (Am. Comp. ¶ 18; dkt. 57-3 at 1).



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         VI.    Defendants Alex Jones (“Jones”), InfoWars, LLC (“InfoWars”), and Free
                Speech Systems, LLC (“Free Speech Systems”)

         Domiciled in Austin, Texas, Jones is the owner and publisher of the InfoWars website, as

  well as the host of associated radio and web-based shows.    (Am. Comp. ¶ 14; dkt. 57-1 at 1).

  InfoWars is a Texas limited liability company (LLC) operating as the website InfoWars.com.

  (Am. Comp. ¶ 15). InfoWars “presents itself as a news media outlet” and “funds its work by the

  sale of various dietary supplements on its online store.” (Id. ¶¶ 123–24). Free Speech Systems

  is a related Texas LLC that operates InfoWars.com and The Alex Jones Channel on YouTube.3

  (Id. ¶ 16; dkt. 57-2 at 1). Jones allegedly owns Free Speech Systems. (Am. Comp. ¶ 16).

  Infowars.com is labeled a “Free Speech Systems, LLC website,” and purchases of InfoWars

  dietary supplements “may result in a billing entry on the purchaser’s credit card as Free Speech

  Systems, LLC or Magnolia Management.” (Id.).

         Gilmore alleges that these defendants published defamatory statements about him in the

  August 15, 2017 article authored by McAdoo and the accompanying video featuring McAdoo

  and Stranahan. (Id. ¶¶ 16, 83). Jones allegedly posted the article text and video on his YouTube

  channel and Twitter account.     (Id. ¶¶ 87–88).   Gilmore asserts that these defendants also

  published defamatory statements in a video Jones produced entitled “Breaking: State

  Department / CIA Orchestrated Charlottesville Tragedy.” (Id. ¶ 102; dkt. 57-1). This video was

  posted on InfoWars.com and The Alex Jones Channel on YouTube. (Am. Comp. ¶ 102).

         VII.   Defendants Allen B. West (“West”), Derrick Wilburn (“Wilburn”), Michele
                Hickford (“Hickford”), and Words-N-Ideas, LLC (“Words-N-Ideas”)

         West, a former congressman and regular contributor to Fox News, is domiciled in Dallas,

  Texas. (Am. Comp. ¶ 21; dkt. 59-1 at 1). Gilmore alleges that West owns the Allen B. West

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        Since the events giving rise to this lawsuit, The Alex Jones Channel has been suspended
  by YouTube and is no longer accessible.
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  website,4 which published an allegedly defamatory article entitled “BOMBSHELL: New evidence

  suggests Charlottesville was a complete SET-UP.” (Am. Comp. ¶ 21). Wilburn, domiciled in

  Colorado Springs, Colorado, authored that article. (Id. ¶ 22; dkt. 47-5). Words-N-Ideas, an

  allegedly inactive Florida LLC, is identified by Gilmore as the “purported owner” of the Allen B.

  West website. (Am. Comp. ¶ 24). Hickford, also domiciled in Florida, is the managing member,

  registered agent, and self-described “President” of Words-N-Ideas, (id. ¶ 23; dkt. 47-4 at 2), as

  well as the alleged “editor-in-chief” of the Allen B. West website. (Am. Comp. ¶ 23). West

  contends that Hickford and Words-N-Ideas owned and operated the Allen B. West website when

  Wilburn’s article was published, and that he had “no involvement with operating the website” or

  publishing the article. (Dkt. 59-1 at 1–2).

                                                FACTS AS ALLEGED

         Gilmore, in “his personal capacity,” was among the many “peaceful counter-protestors”

  who gathered in Charlottesville, Virginia on August 12, 2017 “in opposition” to the Unite the

  Right rally. (Am. Comp. ¶ 27). The rally was organized by various white supremacist and neo-

  Nazi groups as a response to the Charlottesville City Council’s decision to remove a statue of

  Confederate General Robert E. Lee from a city park and change that park’s name from “Lee

  Park” to “Emancipation Park.” (Id. ¶¶ 25–26). Gilmore captured footage of James Alex Fields,

  Jr. driving into a crowd of protestors, and shared this video on Twitter to show that the attack

  was “deliberate” and “to help convince the public to stay off the streets.” (Id. ¶¶ 29–32).

         Soon after sharing this footage, Gilmore received interview requests from local, national,

  and international media outlets. (Id. ¶ 33). Between August 12 and 13, 2017, Gilmore spoke

  with multiple outlets “to provide an eyewitness account.” (Id. ¶ 34). Gilmore did not solicit

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         The link Gilmore provides to the Allen B. West website is not functional due to website
  “construction.” (Am. Comp. ¶ 21, n.19).
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  these interview requests “or ask media outlets to share his video.” (Id. ¶ 35). Defendants

  published articles and videos containing statements about Gilmore between August 13, 2017 (the

  publication date of Creighton’s article and video) and August 21, 2017 (the publication date of

  Jones’s video). (Id. ¶¶ 37–144). Gilmore alleges that these publications falsely portray him as

  “a ‘Deep State operative’ who helped orchestrate the violence in Charlottesville.” (Id. ¶ 150).

         After Defendants’ publications appeared online, Gilmore allegedly “became the subject

  of a barrage of harassing and threatening messages that made him fear for his personal safety as

  well as the safety of his family members.” (Id.).       Gilmore describes disturbances such as

  attempted hacks into his online accounts, the posting of his parents’ address online, a

  confrontation with a disgruntled stranger on the street, and the mailing of an unknown chemical

  substance to his parents’ home. (Id. ¶¶ 154, 157–63). As a result of stress related to these

  disturbances, Gilmore has been diagnosed with a medical condition causing a loss of vision in

  his right eye, and has experienced “exacerbated” symptoms of depression. (Id. ¶¶ 181–83).

         Defendants’ publications have also allegedly harmed Gilmore professionally. Gilmore

  claims that his company has lost potential clients and partners, and that he “may need to remove

  himself altogether from the company’s client-facing work” to prevent harm to the business. (Id.

  ¶ 187). Gilmore asserts that it will be “difficult” for him to serve as a diplomat if he returns to

  the State Department due to the reputational harm inflicted by Defendants’ publications, and

  claims that “government officials who have endorsed Defendants’ lies” would “likely” seek to

  “oust him from government service entirely.” (Id. ¶¶ 188–89).

                                                  ANALYSIS

         Defendants move to dismiss on three grounds. First, some defendants move to dismiss

  pursuant to Fed. R. Civ. P. 12(b)(1), arguing this Court cannot exercise diversity jurisdiction



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  under 28 U.S.C. § 1332. (Dkts. 46; 58). Second, all defendants move to dismiss pursuant to

  Fed. R. Civ. P. 12(b)(2), arguing that the Court cannot exercise personal jurisdiction over any

  defendant. (Dkts. 46; 56; 58). Third, all defendants move to dismiss pursuant to Fed. R. Civ. P.

  12(b)(6), arguing that Gilmore fails to state claims for either defamation or IIED. (Id.). The

  Court addresses each argument in turn.

         I.      Rule 12(b)(1) – The Court’s Subject Matter Jurisdiction

         Gilmore invokes this Court’s diversity jurisdiction pursuant to 28 U.S.C. § 1332(a),

  which requires complete diversity between the parties and an amount in controversy exceeding

  $75,000. Defendants Creighton, Hoft, Stranahan, Wilburn, Hickford, and Words-N-Ideas move

  to dismiss pursuant to Rule 12(b)(1), arguing that (1) the parties are not completely diverse

  because Stranahan, like Gilmore, is a citizen of Virginia; and (2) Gilmore fails to adequately

  allege that the amount in controversy exceeds $75,000.5 (Dkt. 47 at 7–21).

         A motion to dismiss pursuant to Rule 12(b)(1) tests a district court’s subject matter

  jurisdiction. Typically, the Court must accept as true all material factual allegations in the

  complaint and construe the complaint in the plaintiff’s favor. See Warth v. Seldin, 422 U.S. 490,

  501 (1975). But where a defendant challenges the factual basis for subject matter jurisdiction,

  “the plaintiff bears the burden of proving the truth of such facts by a preponderance of the

  evidence.” U.S. ex rel. Vuyyuru v. Jadhav, 555 F.3d 337, 347–48 (4th Cir. 2009). “Unless the

  jurisdictional facts are intertwined with the facts central to the merits of the dispute,” the district

  court may “go beyond the allegations of the complaint and resolve the jurisdictional facts in

  dispute by considering evidence outside the pleadings.” Id. at 348. “The moving party should

  prevail only if the material jurisdictional facts are not in dispute and the moving party is entitled

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        West also moves to dismiss pursuant to Rule 12(b)(1), arguing that the parties are not
  completely diverse. (Dkt. 59 at 5–6).
                                                    7

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  to prevail as a matter of law.” Richmond, Fredericksburg & Potomac R.R. Co. v. United States,

  945 F.2d 765, 768 (4th Cir. 1991).

                 A.      Complete Diversity

         Defendants first contend that the parties are not completely diverse because Stranahan,

  like Gilmore, is a citizen of Virginia, rather than of Texas as Gilmore asserts. (Dkts. 47; 59). To

  satisfy § 1332(a)’s complete diversity requirement, “the citizenship of every plaintiff must be

  different from the citizenship of every defendant.” Cent. W. Va. Energy Co., Inc. v. Mountain

  State Carbon, LLC, 636 F.3d 101, 103 (4th Cir. 2011). “[R]esidency is not sufficient to establish

  citizenship.” Johnson v. Advance Am., 549 F.3d 932, 937 n.2 (4th Cir. 2008). “To be a citizen

  of a State, a person must be both a citizen of the United States and a domiciliary of that State.”

  Id. “Domicile requires physical presence, coupled with an intent to make the State a home.” Id.

  In evaluating complete diversity, the relevant unit of analysis is the party’s domicile “at the time

  the complaint is filed.” Martinez v. Duke Energy Corp., 130 F. App’x 629, 634 (4th Cir. 2005)

  (citing Grupo Dataflux v. Atlas Glob. Grp. L.P., 541 U.S. 567, 571 (2004)).

         When a party’s citizenship “is questioned, a court must make an individualized inquiry

  relying on certain factors such as voter registration; current residence; the location of real and

  personal property; location of bank and brokerage accounts; membership in clubs, churches, or

  other associations; place of employment or business; driver’s license and automobile

  registration; and the state to which a person pays taxes.” Scott v. Cricket Commc’ns, LLC, 865

  F.3d 189, 195 (4th Cir. 2017). “No single factor is dispositive.” Id.

         In support of their position that Stranahan was domiciled in Virginia at the time this

  action was filed,6 Defendants present declarations by Stranahan stating that, although he



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         Gilmore filed suit on March 13, 2018. (Dkt. 1). The amended complaint was filed on
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  previously resided in Texas, he has rented an apartment in Virginia since March 2017, had no

  home or property in Texas in 2017, has had no family living in Texas since November 2016, has

  no Texas driver’s license, has not voted in Texas since 2012, and intends to live in Virginia “for

  the foreseeable future.”7 (Dkts. 47-1; 91-1). Stranahan also presents W-2 forms indicating his

  employer withheld Virginia income taxes in 2017. (Dkt. 91-2).

         Gilmore counters with evidence that Stranahan is actively registered to vote in Texas,

  (dkts. 70-1; 70-7); a “skip tracing” report indicating that Stranahan at one point resided at a

  Texas address and had a Texas driver’s license,8 (dkt. 70-2); a screenshot of Stranahan’s

  Facebook page stating that he lives in Dallas, Texas, (dkt. 70-3); records indicating that

  Stranahan’s wife is registered to vote in Texas, (dkt. 70-4); and an assertion that Stranahan

  solicited payments and donations “via a Pay-Pal account belonging to Stranahan Strategies,”

  (dkt. 70 at 9), which Texas Comptroller records indicate is an inactive Texas LLC. (Dkt. 70-5).

         The Court finds that Gilmore has established by a preponderance of the evidence that

  Stranahan was domiciled in Texas at the time this action was filed.           Although Stranahan

  currently rents an apartment in Virginia, (dkt. 47-1), “residency is not sufficient to establish


  April 24, 2018. (Dkt. 29). Gilmore has established by a preponderance of the evidence that
  Stranahan was domiciled in Texas on both of these dates.
  7
          Stranahan also presents affidavits from individuals who registered to vote in one state,
  moved to another state, and never took steps to remove themselves from the voter rolls of the
  state in which they formerly resided. (Dkt. 47-7–14). These affidavits have no bearing on
  Stranahan’s domicile. A majority of the affidavits are not from individuals who were previously
  registered to vote in the state of Texas. The two affidavits from individuals who were once
  registered to vote in Texas and never took affirmative steps to remove themselves from Texas’s
  voter rolls do not state whether their voter registration status remained active in Texas following
  their inaction. (Dkts. 47-7; 47-13). Thus, these affidavits are of no value to the Court.
  8
         According to Gilmore, “skip tracing” is the “act of discovering the current location . . . of
  an individual who has ‘skipped’ town.” (Dkt. 70 at 8, n.4). “[S]kip tracers consult public
  records databases and other information to determine an individual’s current and past addresses
  and contact information.” (Id.). The Court finds it unnecessary to consider or rely on this report.
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   citizenship.” Johnson, 145 F.3d at 937, n.2. Similarly, although Stranahan’s declaration states

   that he “intend[s] to live in Virginia for the foreseeable future,” (dkt. 47-1), such self-serving

   statements are entitled to “little weight” to the extent that they “conflict with the facts.”

   Peterson for Peterson v. Paddy, No. 3:16-cv-00026, 2017 WL 2655854, at *3 (W.D. Va. June

   19, 2017). See also Manning v. Alamance Cty., N. Car., No. 1:15-cv-290, 2016 WL 843309, at

   *3 (M.D. N.C. Mar. 1, 2016) (noting that “a party’s own statements of his intended domicile are

   not conclusive” and should be “accepted with considerable reserve”).

          The most compelling evidence of Stranahan’s domicile is his place of voter registration.

   Records from the Secretary of State of Texas show that, at the time this action was filed,

   Stranahan was actively registered to vote in Texas.9 (Dkt. 70-1). Indeed, Stranahan concedes

   this point, stating only that it “never occurred” to him to remove himself from Texas’s voter rolls

   because he has “not been an active voter” since 2012. (Dkt. 47-1 at 3). In assessing a party’s

   domicile, voter registration is of “great importance,” as voting practices “raise a presumption that

   the voter is a citizen in the state in which he votes.” Am. Heartland Port, Inc. v. Am. Port

   Holdings, Inc., No. 5:11-cv-50, 2014 WL 1123384, at *5 (N.D. W. Va. Mar. 21, 2014).10 This

   presumption “must be rebutted by evidence showing a clear intention” that the party’s

   “citizenship is otherwise.” Id.

          Here, evidence of Stranahan’s active voter registration in Texas is particularly weighty


   9
          Defendants argue that the Court cannot consider these records because they are not
   properly authenticated and thus not admissible evidence. (Dkt. 91 at 10). This argument fails, as
   these records are admissible under Federal Rule of Evidence (FRE) 902(1) as a self-
   authenticating domestic public document and under FRE 803(8) as a public record.
   10
          District courts in this circuit consistently treat voter registration and voting as particularly
   important in deciding a party’s domicile. See, e.g., Welles v. Aamodt, No. 5:15-cv-613, 2016
   WL 1625503, at *2 (E.D. N.C. Apr. 21. 2016); Bloom v. Library Corp., 112 F.3d 498, 503 (N.D.
   W. Va. 2015); Goode v. STS Loan & Mgmt., Inc., No. Civ.A. DKC 2004-0999, 2005 WL
   106492, at *7 (D. Md. Jan. 14, 2005).
                                                     10

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   because to remain active on Texas’s voter rolls, Texas law requires that voters be capable of

   receiving a non-forwardable renewal certificate mailed by the registrar to the Texas address

   listed on the voter’s last registration application.11 See Tex. Elec. Code Ann. §§ 14.001(a),

   14.002(a)-(b). If the renewal form is returned as undeliverable to the registrar, the voter is

   placed on the “suspense list.” Id. § 14.021. Stranahan’s voter registration records indicate that

   he remained actively registered in Texas following a “change / audit date” of December 5, 2017.

   (Dkt. 70-1 at 2). Under Texas law, Stranahan was almost certainly capable of receiving mail at a

   Texas address in December 2017. Otherwise, the renewal certificate mailed to the address he

   previously listed on his voter registration application would have been returned to the registrar as

   undeliverable, and the registrar would have placed Stranahan on the suspense list. The evidence

   Stranahan offers of Virginia domicile—including statements that he intends to reside in Virginia

   for the “foreseeable future,” (dkt. 47-1 at 1), and a W-2 form indicating that his employer

   withheld Virginia income taxes in 2017, (dkt. 91-2)—is insufficient to rebut the presumption of

   Texas domicile created by his active voter registration in Texas.

          Four additional factors weigh in favor of finding that Stranahan was domiciled in Texas

   at the time Gilmore filed this action. First, although Stranahan presents W-2 forms indicating his

   employer withheld Virginia income taxes in 2017, (dkt. 91-2), his statement that he had not

   actually “filed a Virginia Income Tax Return” but rather “filed for an extension” diminishes the

   significance of this evidence. (Dkt. 47-1 at 1). Second, Stranahan does not dispute Gilmore’s

   11
           Specifically, “[o]n or after November 15 but before December 6 of each odd-numbered
   year,” Texas county voting registrars mail a renewal certificate “to the mailing address on the
   voter’s registration application.” Tex. Elec. Code Ann. §§ 14.001(a), 14.002(a). The certificate
   cannot be forwarded to another address and will be returned to the registrar “if the addressee is
   no longer at the address to which the certificate was mailed,” at which point the registrar places
   the voter’s name on the “suspense list.” Id. §§ 14.002(b), 14.021. “At least monthly,” registrars
   must solicit any information from the U.S. Postal Service “indicating address reclassifications”
   of registered voters. Id. § 15.022(b). See also id. §§ 15.051(a), 15.053(a), 15.081(a)(1).
                                                   11

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   allegation that he solicited payments “via a Pay-Pal account belonging to Stranahan Strategies,”

   which Texas Comptroller records indicate is an inactive Texas LLC.12 (Dkts. 70 at 20; 70-5).

           Third, Stranahan currently rents an apartment in a “We Live/We Work complex” in

   Arlington, Virginia.13   Gilmore alleges that this complex is a “temporary shared housing

   community where patrons are able to utilize living and office space without a long-term

   commitment.” (Dkt. 70 at 20–21). Although Stranahan’s residence in such a housing complex

   does not necessarily preclude him from establishing domicile in Virginia, it suggests he has not

   made a permanent home in Virginia. Fourth, Stranahan has been evasive about where his family,

   specifically his wife, resided at the time this action was filed. Gilmore alleges that Stranahan’s

   wife is actively registered to vote in Texas and that she voted there as recently as 2016. (Id. at

   20). Although Stranahan avers in his declarations that he had “no immediate family” in Texas in

   2017, (dkt. 47-1), and that “to the best of [his] knowledge, no one related to [him] by blood or

   marriage has lived in Texas since November 2016,” (dkt. 91-1), Stranahan does not assert that

   his wife or any other family member lived in Virginia when this action was filed.14 Indeed,

   Stranahan has never revealed where his wife resided when this action was filed, and his counsel

   could not answer questions on this subject at oral argument.15


   12
          These records are admissible under FRE 803(8) as a public record.
   13
         Stranahan provided his address, (dkt. 33-1), and Gilmore provided a link to the We
   Live/We Work website showing a We Live/We Work complex at this address. (Dkt. 70 at 21).
   The Court takes judicial notice of this fact pursuant to FRE 201(b)(2).
   14
           Both of Stranahan’s declarations indicate they were signed in 2017, a year before this
   action and the declarations themselves were filed. (Dkts. 47-1; 91-1). Although this appears to
   be a typographical error, it is not an insignificant one, and it further compounds confusion on the
   subject of Stranahan’s domicile when this action was filed in 2018.
   15
           Stranahan’s counsel stated during oral argument that Stranahan had no family in Texas.
   But when pressed about where Stranahan’s wife resided at the time this action was filed, counsel
   stated he did not know because he had never asked his client, calling into question how counsel
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          In sum, the Court finds that Gilmore has established by a preponderance of the evidence

   that Stranahan was domiciled in Texas at the time this action was filed.16 Thus, § 1332(a)’s

   requirement of complete diversity is satisfied.

                  B.      Amount in Controversy

          Defendants Creighton, Hoft, Stranahan, Wilburn, Hickford, and Words-N-Ideas argue

   that Gilmore fails to allege an amount in controversy in excess of $75,000. (Dkt. 46).

          “When a plaintiff invokes federal-court jurisdiction, the plaintiff’s amount-in-controversy

   allegation is accepted if made in good faith.” Dart Cherokee Basin Operating Co., LLC v.

   Owens, 135 S.Ct. 547, 553 (2014). “If the plaintiff claims a sum sufficient to satisfy the

   statutory requirement, a federal court may dismiss only if it is apparent, to a legal certainty, that

   the plaintiff cannot recover the amount claimed.” JTH Tax, Inc. v. Frashier, 624 F.3d 635, 638

   (4th Cir. 2010). Parties seeking dismissal for an insufficient amount in controversy “shoulder a

   heavy burden” of demonstrating that the “legal impossibility” of the claimed recovery is “so

   certain as virtually to negative the plaintiff’s good faith in asserting the claim.” Id.

          Here, Gilmore alleges defamation per se against Defendants, and seeks “an amount

   greater than $75,000” from each defendant for “presumed damages, as well as actual,

   reputational, emotional, and professional injuries” suffered as a “direct and proximate” result of

   Defendants’ publications. (See, e.g., Am. Comp. ¶¶ 214–15, 232). Gilmore also seeks damages

   “in an amount greater than $75,000” from each defendant for his IIED claims, for the “severe

   emotional distress,” physical ailments, and “irreparable damage to his professional reputation”


   could state so unequivocally just moments earlier that Stranahan had no family in Texas.
   16
            In finding that Stranahan was domiciled in Texas, the Court finds it unnecessary to
   consider or rely on the “skip tracing” report, (dkt. 70-2), the screenshot of Stranahan’s Facebook
   page stating that he lives in Dallas, Texas, (dkt. 70-3), or records indicating that Stranahan’s wife
   is registered to vote in Texas, (dkt. 70-4).
                                                     13

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   he has experienced as a “result of Defendants’ actions.” (Id. ¶¶ 289, 293).

          With respect to Gilmore’s defamation claims, Defendants assert that Gilmore

   impermissibly “includes harms caused by the wrongful conduct of third parties” (i.e., individuals

   not named as defendants who allegedly harassed Gilmore because of Defendants’ publications)

   in his calculation of damages. (Dkt. 47 at 23, 25). Defendants argue that Virginia law does not

   permit “the wrongful actions of third parties to be included in the calculation of damages at all.”

   (Id. at 23). With respect to Gilmore’s IIED claims, Defendants contend that the essence of the

   harm Gilmore alleges is the “distress” caused by “third parties who are not named as

   defendants,” but that Gilmore fails to allege Defendants “incited” these third parties to harm him

   under Brandenburg v. Ohio, 395 U.S. 444 (1969). (Id.).

          Defendants fail to shoulder their “heavy burden” of establishing the “legal impossibility”

   of Gilmore’s claimed recovery. JTH Tax, 624 F.3d at 638. Defendants do not adequately

   support either of their arguments with binding precedent.17 Moreover, Defendants’ arguments

   are substantively without merit. With respect to Gilmore’s defamation claims, Defendants

   mischaracterize Gilmore’s damages calculation as “always” including the “wrongful conduct of

   third parties,” (dkt. 47 at 25), as the complaint plainly alleges that Defendants’ publications

   themselves were the cause of Gilmore’s alleged injuries. (Am. Comp. ¶ 215). With respect to

   Gilmore’s IIED claims, consideration of any First Amendment defense is inappropriate at this

   stage. See Zulveta v. State Auto. Mut. Ins. Co., No. 6:15-2880, 2015 WL 9286698, at *4 (D. S.C.

   Nov. 30, 2015) (“[W]here the plaintiff makes his claim in obvious good faith, it is sufficient for

   17
           To support their arguments regarding Gilmore’s defamation claims, Defendants rely on
   an overruled Virginia Supreme Court opinion and a district court opinion interpreting Arizona
   law. (Dkt. 47 at 24–25). To support their contention regarding Gilmore’s IIED claims,
   Defendants rely on a single out-of-circuit district court decision. See Wilson v. Midway Games,
   Inc., 198 F.Supp.2d 167, 182 (D. Conn. 2002). Accordingly, Defendants fall far short of
   establishing to a legal certainty that Gilmore cannot recover damages exceeding $75,000.
                                                   14

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   jurisdictional purposes” even where the defendant may have “a valid defense.” (quoting

   McDonald v. Patton, 240 F.2d 424, 425 (4th Cir. 1957))).            Moreover, to the extent that

   Defendants’ argument concerning third parties is essentially a claim that Gilmore fails to

   adequately plead the causation element of IIED, such arguments are cognizable under Rule

   12(b)(6), not Rule 12(b)(1).

          In sum, the Court finds that it can exercise diversity jurisdiction over this action.

   Defendants’ motions to dismiss pursuant to Rule 12(b)(1), (dkts. 46; 58), will be denied.

          II.     Rule 12(b)(2) – Personal Jurisdiction over Defendants

          All Defendants except Stranahan18 move to dismiss pursuant to Rule 12(b)(2), arguing

   that this Court cannot exercise personal jurisdiction over them. (Dkts. 46; 56; 58).

          The standard of review for personal jurisdiction issues “varies according to the posture of

   the case and the evidence that has been presented to the court.” Grayson v. Anderson, 816 F.3d

   262, 268 (4th Cir. 2016). Where, as here, a district court “considers a question of personal

   jurisdiction based on the contents of a complaint and supporting affidavits, the plaintiff has the

   burden of making a prima facie showing in support of its assertion of jurisdiction.” Universal

   Leather, LLC v. Koro AR, S.A., 773 F.3d 553, 558 (4th Cir. 2014). In conducting its analysis, the

   court “must construe all relevant pleading allegations in the light most favorable to the plaintiff,

   assume credibility, and draw the most favorable inferences for the existence of jurisdiction.” Id.

          For a court to “assert personal jurisdiction over a nonresident defendant, two conditions

   must be satisfied: (1) the exercise of jurisdiction must be authorized under the state’s long-arm

   18
          Stranahan did not move to dismiss for lack of personal jurisdiction under Rule 12(b)(2),
   and thus has waived that defense. See Fed. R. Civ. P. 12(h)(1). Nonetheless, analysis of whether
   the Court can exercise personal jurisdiction over other defendants, namely McAdoo and Words-
   N-Ideas, necessarily yields analysis of whether the Court can exercise personal jurisdiction over
   Stranahan. The Court concludes that, although Stranahan has waived the defense, it can properly
   exercise specific personal jurisdiction over him.
                                                   15

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   statute; and (2) the exercise of jurisdiction must comport with the due process requirements of

   the Fourteenth Amendment.” Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d

   390, 396 (4th Cir. 2003). “Because Virginia’s long-arm statute extends personal jurisdiction to

   the outer bounds of due process, the two-prong test collapses into a single inquiry when Virginia

   is the forum state.” Tire Eng’g & Distrib., LLC v. Shandong Linglong Rubber Co., Ltd., 682

   F.3d 292, 301 (4th Cir. 2012). “A Virginia court thus has jurisdiction over a nonresident

   defendant if the exercise of such jurisdiction is consonant with the strictures of due process.” Id.

          “A court’s exercise of jurisdiction over a nonresident defendant comports with due

   process if the defendant has ‘minimum contacts’ with the forum, such that to require the

   defendant to defend its interests in the state ‘does not offend the traditional notions of fair play

   and substantial justice.’” Carefirst, 334 F.3d at 397 (quoting Int’l Shoe Co. v. Wash., 326 U.S.

   310, 316 (1945)). The standard for determining whether personal jurisdiction over a nonresident

   defendant exists varies “depending on whether the defendant’s contacts with the forum state also

   provide the basis for the suit.” Id. If a defendant’s contacts form the basis for the suit, those

   contacts may establish “specific jurisdiction.” Id. “If, however, the defendant’s contacts with

   the state are not also the basis for the suit, then jurisdiction over the defendant must arise from

   the defendant’s general, more persistent but unrelated contacts with the state.” Id.

                  A.      General Personal Jurisdiction

          “To establish general jurisdiction, the defendant’s activities in the state must have been

   ‘continuous and systematic.’” Carefirst, 334 F.3d at 397. Gilmore presents no argument that the

   Court can exercise general personal jurisdiction over Creighton, Hoft, McAdoo, Stranahan,

   Wilburn, Hickford, Words-N-Ideas, or West, and the Court sees no indicia that these defendants




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   have “general, “persistent,” “continuous[,] and systematic” contacts with Virginia.19             Id.

   Gilmore presents two arguments why the Court can exercise general personal jurisdiction over

   Jones, InfoWars, and Free Speech Systems. Both fail. First, Gilmore contends that these

   defendants have “sold and delivered [InfoWars-branded] dietary supplements to persons residing

   in Virginia” through their online stores, and “a substantial portion of this revenue is the result of

   transactions with individuals in Virginia.” (Am. Comp. ¶ 10; dkt. 70 at 25–26). But “mere

   purchases, even if occurring at regular intervals . . . are not enough to warrant a [s]tate’s

   assertion of in personam jurisdiction over a nonresident corporation in a cause of action not

   related to those purchase transactions.” Daimler AG v. Bauman, 571 U.S. 117, 131 (2014).

          Second, Gilmore contends that these defendants “engage in significant reporting

   activities in Virginia,” citing coverage of a book banning in a Virginia school, events in

   Chantilly, Virginia, and the Unite the Right rally. (Am. Comp. ¶ 11; dkt. 70 at 25–26). But such

   “single or isolated items of activities in a state” are not sufficient to subject a defendant to the

   state’s general jurisdiction.20 Pharmabiodevice Consulting, LLC v. Evans, No. GJH-14-00732,

   2014 WL 3741692, at *7 (D. Md. July 28, 2014) (quoting Int’l Shoe Co., 326 U.S. at 317). See

   also Daimler AG, 571 U.S. at 133, n.11 (“[G]eneral jurisdiction requires affiliations so

   continuous and systematic as to render the foreign corporation essentially at home in the forum

   State.”). Thus, the Court cannot exercise general personal jurisdiction over any defendant.



   19
          The Court need not parse whether Stranahan’s residence in Virginia is sufficient to
   support general personal jurisdiction because Stranahan has waived any personal jurisdiction
   defense and because the Court can exercise specific personal jurisdiction over Stranahan.
   20
          Gilmore also avers that Jones’s radio show airs on the “Virginia affiliate stations” of the
   “Genesis Communication Network,” which “publishes content to Virginians.” (Am. Comp. ¶
   10). Although the Court doubts these contacts are “so continuous and systematic as to render”
   Jones “essentially at home” in Virginia, the Court need not decide this question because it can
   exercise specific personal jurisdiction over Jones. Daimler AG, 571 U.S. at 133, n.11.
                                                    17

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                  B.      Specific Personal Jurisdiction

          Specific personal jurisdiction is “confined to adjudication of issues deriving from, or

   connected with, the very controversy that establishes jurisdiction.” Goodyear Dunlop Tire

   Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011). To warrant the exercise of specific

   personal jurisdiction, a “defendant must have purposefully established minimum contacts in the

   forum State such that [it] should reasonably anticipate being haled into court there.” Perdue

   Foods LLC v. BRF S.A., 814 F.3d 185, 189 (4th Cir. 2016). The Fourth Circuit employs “a

   three-part test to determine whether the exercise of specific personal jurisdiction over a

   nonresident defendant” comports with due process, examining “(1) the extent to which the

   defendant purposefully availed itself of the privilege of conducting activities in the forum state;

   (2) whether the plaintiff’s claims [arose] out of those activities; and (3) whether the exercise of

   personal jurisdiction is constitutionally reasonable.” Universal Leather, 773 F.3d at 559. In

   deciding whether it can exercise specific personal jurisdiction over a defendant, “a court must

   weigh the totality of the facts before it.” Perdue Foods, 814 F.3d at 189. The court “should not

   merely . . . count [a defendant’s] contacts [with the forum state] and quantitatively compare this

   case to other preceding cases.” Carefirst, 334 F.3d at 397. “Even a single contact may be

   sufficient to create jurisdiction when the cause of action arises out of that single contact,

   provided that the principle of fair play and substantial justice is not thereby offended.” Id.

          In assessing whether Defendants’ contacts with Virginia support specific personal

   jurisdiction, three decisions are particularly salient. In Calder v. Jones, 465 U.S. 783, 788–89

   (1984), the Supreme Court held that a California court could exercise personal jurisdiction over

   two Florida newspapermen in a libel action arising out of a National Enquirer article written in

   Florida but “concern[ing] the California activities” of Shirley Jones, a Hollywood actress and



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   California resident. The Court noted that the “article was drawn from California sources, and the

   brunt of the harm, in terms both of [Jones’s] emotional distress and the injury to her professional

   reputation, was suffered in California.” Id. Because “California [was] the focal point both of the

   story and of the harm suffered,” jurisdiction was “proper in California based on the ‘effects’ of

   [defendants’] Florida conduct in California.” Id. at 789.

          The Fourth Circuit has adapted the Calder “effects” test for cases involving online

   activity in two important decisions.21 In ALS Scan, Inc. v. Dig. Serv. Consultants, Inc., 293 F.3d

   707, 714 (4th Cir. 2002), the Fourth Circuit held that “a State may, consistent with due process,

   exercise judicial power over a person outside of the State when that person (1) directs electronic

   activity into the State, (2) with the manifested intent of engaging in business or other interactions

   within the State, and (3) that activity creates, in a person within the State, a potential cause of

   action cognizable in the State’s courts.” Applying this standard, the Fourth Circuit found that a

   Maryland court could not exercise specific personal jurisdiction over a Georgia-based Internet

   service provider (ISP) whose only role in the alleged trademark infringement was “provid[ing]

   bandwidth” that allowed another company “to create a website and send information over the

   Internet.” Id. at 714–15 (noting that the ISP-defendant “did not select or knowingly transmit

   infringing photographs” or “direct its electronic activity specifically at any target in Maryland”).

          In Young v. New Haven Advocate, 315 F.3d 256, 263 (4th Cir. 2002), the Fourth Circuit

   refined the ALS Scan test for cases where “the Internet activity” at issue involves “the posting of

   news articles on a website.” In such cases, the test “works more smoothly when parts one and

   21
          Defendants’ characterization of Calder as merely a “34-year-old, pre-Internet ruling” is
   off-base. (Dkt. 90 at 7). Calder—although adapted for cases involving online activity—remains
   binding Supreme Court precedent. Both ALS Scan and Young cite Calder as a viable precedent.
   See ALS Scan, Inc. v. Dig. Serv. Consultants, Inc., 293 F.3d 707, 714 (4th Cir. 2002); Young v.
   New Haven Advocate, 315 F.3d 256, 262–63 (4th Cir. 2002). Moreover, the Supreme Court
   continues to cite Calder. See, e.g., Walden v. Fiore, 571 U.S. 277, 286–87 (2014).
                                                    19

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   two” are “considered together,” such that courts ask “whether the [defendants] manifested an

   intent to direct their website content . . . to a Virginia audience.” Id. The fact that a defendant’s

   website can “be accessed anywhere, including Virginia, does not by itself demonstrate that the

   [defendant was] intentionally directing their website content to a Virginia audience.”            Id.

   “Something more than posting and accessibility is needed”—the “general thrust and content” of

   the online publications must “manifest an intent to target and focus on Virginia readers.” Id.

          Applying this standard in Young, the Fourth Circuit determined that a Virginia court

   could not exercise specific personal jurisdiction over Connecticut newspapers that published

   online articles commenting on conditions at a Virginia prison and allegedly defaming Young, a

   warden at the prison, in the midst of reporting on the “Connecticut prison transfer policy.” Id. at

   263–64. The Fourth Circuit reasoned that (1) the “content of the websites [was] decidedly local,

   and neither newspaper’s website contain[ed] advertisements aimed at a Virginia audience,”22 and

   (2) “Connecticut, not Virginia, was the focal point of the articles.” Id.

          In deciding whether to exercise specific personal jurisdiction over Defendants, the Court

   must ask whether (1) each defendant “manifested an intent to direct their website content” to a

   “Virginia audience,” Young, 315 F.3d at 263, such that the defendant “should reasonably

   anticipate being haled into court” in Virginia, Perdue Foods, 814 F.3d at 189; and (2) whether

   each defendant’s activity “creates, in a person within the State, a potential cause of action” under

   Virginia law. ALS Scan, 293 F.3d at 714. Below, the Court undertakes this inquiry for each of

   the eleven defendants by examining each of the allegedly tortious publications at issue.

   22
          Defendants suggest that the dispositive factor in Young was that the websites did not
   “contain[] advertisements aimed at a Virginia audience.” (Dkt. 57 at 11). No single factor was
   determinative in Young, and the reasoning in that decision leaves open the possibility that where
   Virginia “is the focal point of the articles,” specific personal jurisdiction may be appropriate in
   Virginia, even if the websites in question do not contain advertisements explicitly aimed at
   Virginians. Young, 315 F.3d at 264.
                                                    20

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                  1.      Creighton’s American Everyman Article & Video

          On August 13, 2017, Creighton published an article on the American Everyman website

   entitled “Charlottesville Attack, Brennan Gilmore and . . . the STOP KONY 2012 Pysop? What.”

   (Dkt. 29-1).23 In the article, Creighton asked readers to “look at the video Brennan Gilmore

   posted of the Charlottesville attack” to see “[s]omething very odd and OBVIOUS.” (Id. at 2

   (emphasis in original)).24 Noting Gilmore’s “rather suspicious positioning,” Creighton wrote

   that Gilmore “filmed Fields’s car “heading all the way down the street into the crowd of

   protestors . . . almost as if he knew it would run into them rather than simply brake and sit and

   wait like the cars in front of it.” (Id. at 4–5). Creighton wrote that Gilmore is a “former State

   Department employee” and “was also part of” Tom Perriello’s 2017 Virginia gubernatorial

   campaign, describing Perriello’s record and ideological views at length. (Id. at 6–8). Creighton

   questioned whether it is “possible” that Gilmore, a “convenient witness” with “links to Special

   Ops and CIA and various other black ops kinds of actors[,] just HAPPENED to be there” at the

   “particular moment” of Fields’s attack. (Id. at 9). Stating that he is “not into” such “coincidence

   theories,” Creighton wrote that “Gilmore, like Tom [Perriello], seem[s] particularly invested in

   undermining the ‘alt-right’ in the lead-up to the next round of elections.” (Id.).

          Gilmore alleges that Creighton posted a video entitled “Charlottesville Attack – Brennan

   Gilmore: Witness or Accessory” to his YouTube channel on August 13, 2017. (Am. Comp. ¶¶

   46–50). In the video, Creighton allegedly stated: “This guy happens to be on that fucking corner

   with his camera rolling, watching that car drive by for five seconds, and he’s former State



   23
          Gilmore alleges that Creighton subsequently published this same article on other
   websites, including BeforeItsNews.com, (dkt. 29-2), and Sott.net, (dkt. 29-3).
   24
            Except where noted otherwise, emphasis in any quotation from the publications at issue
   in this case should be assumed to have appeared in the original.
                                                    21

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   Department, and close to Tom Perriello, who is also former State Department obviously, he’s got

   a fucking ax to grind, that’s one hell of a goddamn coincidence, and you got to be a special kind

   of stupid to buy that.” (Id. ¶ 14). Creighton also allegedly stated that he was “suggesting” that

   “someone had foreknowledge[] that this event [i.e., Fields’s attack] was going to happen.” (Id.).

          Considering the “general thrust” of Creighton’s article and video, Young, 315 F.3d at

   263, the Court concludes that both were sufficiently targeted at a Virginia audience such that

   Creighton should have “anticipate[d] being haled into court in” Virginia to defend his statements.

   Perdue Foods, 814 F.3d at 189. Although neither the American Everyman website nor YouTube

   channel has a Virginia-specific focus,25 the exclusive focus of Creighton’s publications was a

   Virginia event and a Virginia citizen. Indeed, the title of both the article and video references the

   “Charlottesville Attack” and “Brennan Gilmore.” (Dkt. 29-1). These publications’ Virginia-

   specific focus is further reinforced by Creighton’s discussion in both of Perriello, a Virginia

   gubernatorial candidate. Thus, unlike in Young, 315 F.3d at 263, the “focal point” of Creighton’s

   publications was a Virginia event and citizen, making his publications of particular interest to a

   Virginia audience.26 Additionally, Gilmore alleges that the harm he suffered as a result of



   25
           The websites at issue in this case typically focus on national, rather than Virginia-
   specific, events. But websites with a national focus are still capable of publishing content that,
   although perhaps of interest to many readers, is of special concern for citizens of a particular
   state. Indeed, Calder establishes this point, since the National Enquirer’s nationwide circulation
   did not preclude a holding that personal jurisdiction was proper in California. See Calder, 465
   U.S. at 785. To hold otherwise would mean that online publications engaging in national
   coverage and attracting a national audience could never be subject to personal jurisdiction in any
   state except the state where the publication is at home.
   26
           Defendants argue that their publications were not “aimed at a Virginia audience” because
   the Unite the Right rally was a subject of “national and even international interest.” (Dkt. 57 at
   11). This argument fails. Events—even those that garner widespread attention—are most
   intensely felt in the states and communities where they occur. Online publications focused on
   the Unite the Right rally, and a Virginia citizen who protested the rally, would be of particular
   interest to a Virginia audience. Calder establishes that an article with broad national appeal can
                                                    22

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   Creighton’s online postings occurred in Virginia, where he lives and works.27 (Am. Comp. ¶¶

   179–88). Accordingly, as in Calder, 465 U.S. at 789, personal jurisdiction is warranted in

   Virginia because Virginia is “the focal point both of [Creighton’s publications] and of the harm

   suffered.”   Moreover, unlike the “passive” ISP-defendant in ALS Scan, 293 F.3d at 714,

   Creighton wrote the article, spoke in the video, and published both on platforms he owns and

   operates.    (Dkt. 47-2).   Lastly, Gilmore’s claims against Creighton arise directly from

   Creighton’s publications.28 See ALS Scan, 293 F.3d at 714.

          In sum, since Creighton “manifested an intent to direct his website content” at a Virginia

   audience,29 Young, 315 F.3d at 263, the Court finds that it can exercise specific personal

   jurisdiction over him.

   nonetheless be aimed at an audience in a particular state. Moreover, other courts addressing
   online content of national and international importance have found specific personal jurisdiction
   in the state where the plaintiff is a citizen and experienced harm. See, e.g., Gubarev v. Buzzfeed,
   Inc., 253 F.Supp.3d 1149, 1158–59 (S.D. Fla. 2017) (finding, under Calder, that Buzzfeed’s
   publication of the Fusion GPS dossier could support specific personal jurisdiction in Florida
   because the dossier allegedly defamed a Florida plaintiff who sustained harm in Florida).
   27
           Gilmore similarly alleges that the harm he suffered because of Defendants’ other
   publications occurred in Virginia. (Am. Comp. ¶¶ 6, 145–63; 178–203). The Court will not
   repeat this allegation, or its analysis of this allegation, for each publication.
   28
          Gilmore’s claims against the remaining defendants similarly arise from those defendants’
   publications, thereby satisfying the last prong of the ALS Scan test. The Court will not repeat its
   analysis of this prong for each publication or defendant.
   29
            Defendants rely on three decisions where district courts found that online publications
   were not aimed at an audience of the forum state. (Dkt. 90 at 9). But these cases involved
   publications that made only glancing references to the forum state. See FireClean, LLC v.
   Tuohy, No. 1:16-cv-0294, 2016 WL 3952093, at *6–7 (E.D. Va. July 21, 2016) (finding an
   article that “never reference[d] Virginia” was not aimed at a Virginia audience); KMLLC Media,
   LLC v. Telemetry, Inc., No. 1:15-cv-432, 2015 WL 6506308, at *9 (E.D. Va. Oct. 27, 2015)
   (finding the same for a report because there was “simply no focus on Virginia” beyond
   identifying plaintiff’s location in Virginia); Fertel v. Davidson, No. CCB-13-2922, 2013 WL
   6842890, at *4 (D. Md. Dec. 18, 2013) (finding the same for defendant’s posts because “the
   subject matter” of the posts “was not focused on Maryland” apart from mention of a company’s
   Maryland address). Here, Defendants’ publications do not simply make fleeting references to
   Virginia—they are predominately, if not exclusively, focused on Virginia.
                                                   23

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                  2.      Hoft’s Gateway Pundit Article

          On August 14, 2017, Hoft published an article on The Gateway Pundit website entitled

   “Random Man at Protests Interviewed by MSNBC, NY Times Is Deep State Shill Linked to

   George Soros.” (Am. Comp. ¶ 62, dkt. 29-5). Hoft wrote that the “random Charlottesville

   observer” (i.e., Gilmore) is a “deep state shill with links to George Soros,” and that “[i]t looks

   like the State Department was involved in Charlottesville rioting and is trying to cover it up.”

   (Dkt. 29-5 at 2, 4).    After noting that Gilmore was “Chief of Staff for liberal Rep. Tom

   Perriel[l]o,” Hoft embedded screenshots of articles about Gilmore and Perriello from Augusta

   Free Press, a news-site covering Waynesboro, Staunton, and Augusta County, Virginia, and the

   Richmond Times Dispatch. (Id. at 5–8).

          Hoft then quoted the following statement, among others, from a Reddit thread: “So the

   former Chief of Staff for Tom Perriel[l]o who ran in the Virginia gubernatorial election and

   whose campaign received a ridiculous amount of ‘dark money’, including $380k from George

   Soros . . . also happened to go viral and was interviewed because he just happened to be close to

   the Charlottesville event.” (Id. at 8).    Hoft concluded by writing in his own words: “This

   weekend Brennan Gilmore happened to be in Charlottesville with the rioters. The media knows

   exactly who he is yet played it off like a casual observer. This is how the Deep State is working

   with the liberal media to shape [the] narrative and fool the American people.” (Id.).

          The Court finds that the “general thrust and content” of Hoft’s article was sufficiently

   targeted at a Virginia audience to warrant the exercise of specific personal jurisdiction over Hoft.

   Young, 315 F.3d at 263. Although The Gateway Pundit does not have a Virginia-specific focus,

   Hoft’s article was exclusively about a particular Virginia citizen’s participation in a Virginia

   event. Indeed, the title makes clear that the article’s focus is a “Random Man” (i.e., Gilmore) “at



                                                   24

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   Protests.” (Dkt. 29-5 at 1). The Virginia-specific focus of the article is further emphasized by

   Hoft’s discussion of Perriello, a Virginia political figure, and by Hoft’s use of articles by local

   Virginia newspapers as sources for his assertions. See Calder, 465 U.S. at 788 (noting that the

   article at issue, although written in Florida, “was drawn from California sources”). Unlike in

   Young, the exclusive focus of Hoft’s article is a Virginia event and citizen, and, unlike the ISP-

   defendant in ALS Scan, Hoft’s involvement with this allegedly tortious article was not merely

   passive. Rather, Hoft authored and published the article. (Dkt. 47-3 at 2). As with Creighton’s

   publications, Virginia was “the focal point both of” Hoft’s article “and of the harm suffered.”

   Calder, 465 U.S. at 789. Accordingly, the Court finds that Hoft “manifested an intent” to target

   a Virginia audience by publishing an article drawn in part from Virginia sources and focused

   exclusively on a Virginia citizen’s role in a Virginia event. Young, 315 F.3d at 263.

                  3.     McAdoo & Stranahan’s InfoWars Article & Video

          On August 15, 2017, InfoWars published an article by McAdoo with an accompanying

   video on InfoWars.com., both entitled “Bombshell Connection Between Charlottesville, Soros,

   CIA.” (Am. Comp. ¶ 83; dkt. 29-6). The three-sentence article authored by McAdoo reads as

   follows: “As demonstrated this weekend, a civil war is brewing in this country, laying the

   foundation for a violent coup to take out Trump. Soros-funded NGO’s have been able to achieve

   regime change in other countries by quite literally teaming up with Neo-nazis and ‘moderate’

   terrorists. Now, investigative reporter Lee Stranahan reveals the same players involved in the

   Ukraine overthrow are working behind the scenes to oust President Trump.” (Dkt. 29-6 at 3).

          In the accompanying video, McAdoo interviewed Stranahan about a “deep state coup

   underway to oust Trump.” (Dkt. 122 at 3). Stranahan asserted that “the US sponsored a coup”

   in the Ukraine “that was funded by [George] Soros” and “set up by the Obama administration.”



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   (Id. at 7). Stranahan made several comparisons between this alleged Ukrainian coup and the

   Unite the Right rally, describing the rally as “an agitation situation like we saw in Ukraine in

   2013 and 2014.” (Id. at 7, 8, 10). McAdoo made similar comparisons, stating that “these white

   nationalists in Charlottesville were chanting” the “exact same slogan, the blood and soil” and

   “had the same tiki torches” as “paid protestors” in the Ukraine, asserting that “we are also seeing

   those same protestors” in the United States. (Id. at 12). McAdoo later stated that “the media” is

   “using what’s going on in Charlottesville” to “label[]” “everyone on the right that doesn’t

   disavow” white nationalists as a “Nazi or a Russian agent.” (Id. at 24–25).

          Stranahan also discussed Gilmore, describing him as “with the U.S. State Department”

   and having “worked for a Democratic representative.” (Id. at 19). Stranahan and McAdoo then

   displayed screenshots of Gilmore’s Twitter page where Gilmore had posted “a picture of the

   young woman who was murdered” with the caption “martyr.” (Id. at 19–22). Stranahan noted

   that protestors in Ukraine’s Maidan Square also “needed martyrs” or “someone dead,” and later

   stated that “someone really needs to investigate.” (Id. at 19). Gilmore alleges that Jones posted

   this video and the text of McAdoo’s article on The Alex Jones Channel on YouTube on August

   15, 2017, and shared a link to both on Twitter the same day. (Am. Comp. ¶ 87).

          Although this article and video present a closer question than Creighton or Hoft’s

   publications, the Court finds that Gilmore has satisfied his burden of “making a prima facie

   showing in support of [his] assertion of jurisdiction” over McAdoo, Stranahan, InfoWars, Free

   Speech Systems, and Jones on the basis of these publications. Universal Leather, 773 F.3d at

   558. To be sure, the video contains a lengthy discussion of a supposed Ukrainian coup. But the

   clear purpose of the article and video is to connect this “coup” to the Unite the Right rally, and to

   frame the rally as part of an ongoing “deep state coup” designed to undermine and “oust”



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   President Trump. Indeed, the title of the article and video make clear that the purpose of these

   publications is to reveal a “[b]ombshell [c]onnection” between “Charlottesville, Soros, [and the]

   CIA.” (Dkt. 29-6 at 3). Similarly, the article’s text suggests that the video will reveal that the

   “same players involved in the Ukraine overthrow” were working “behind the scenes” at the rally

   and elsewhere to “oust President Trump.” (Id.). Moreover, the video transcript is littered with

   discussion of the rally, (dkt. 122 at 7–12, 18, 24–25, 29, 48), and Gilmore, (id. at 19–22). That

   Stranahan and McAdoo did not discuss the rally or Gilmore exclusively is unremarkable, since

   the “general thrust and content” of the video was a discussion of “deep state” forces supposedly

   underlying a Virginia event. Young, 315, F.3d at 263.

          Thus, the Court concludes that these defendants “manifested an intent” to target a

   Virginia audience by publishing an article and video focused on the political forces supposedly

   underlying a Virginia event and a Virginia citizen’s role in that event. Id. Unlike the ISP-

   defendant in ALS Scan, none of the defendants allegedly involved with these publications played

   a passive role: McAdoo wrote the article containing the video and allegedly defamed Gilmore

   during her interview with Stranahan; Stranahan uttered much of the allegedly tortious content in

   the video; InfoWars published the article on InfoWars.com, a website operated by Free Speech

   Systems; and Jones republished the article and video on his YouTube channel.30 (Am. Comp. ¶

   87). In sum, the Court finds that it can exercise specific personal jurisdiction over Defendants

   McAdoo, Stranahan, Jones, InfoWars, and Free Speech Systems based on this article and video.




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           With respect to Jones’s alleged republication of the article and video on YouTube,
   “[u]nder the republication rule, one who repeats a defamatory statement is as liable as the
   original defamer.” Reuber v. Good Chemical News, Inc., 925 F.2d 703, 712 (4th Cir. 1991). See
   also Dragulescu v. Va. Union Univ., 223 F.Supp.3d 499, 509 (E.D. Va. 2016) (“[E]ach
   successive publication of an old or preexisting defamatory statement gives rise to a new cause of
   action under Virginia law.”).
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                  4.      Jones’s InfoWars / Alex Jones Channel Video

          On August 21, 2017, Jones posted a video entitled “Breaking: State Department / CIA

   Orchestrated Charlottesville Tragedy” on both his YouTube channel and the InfoWars website.31

   (Am. Comp. ¶ 102; dkt. 29-7). On InfoWars.com, the video was posted alongside text reading:

   “The deep state is working overtime trying to divide America. . . . Alex Jones breaks down

   shocking revelations into the Charlottesville riots including who was behind the attack and why

   they did it!!”. (Dkt. 29-7 at 3). In the video, Jones allegedly asserted that the violence in

   Charlottesville was part of an orchestrated plot involving “known CIA and State Department

   officials in Charlottesville” and “[t]he mayor” of Charlottesville, all of whom Jones described as

   “cut-out[s],” a term Gilmore asserts denotes individuals “involved in espionage who act[] as an

   intermediary or channel of communication between a spymaster and other subagents of a covert

   operation.” (Am. Comp. ¶¶ 104, n. 62; 109). The video allegedly featured a “narration of the

   alleged testimony” of a Charlottesville police officer stating that the violence in Charlottesville

   was “set up to further the agenda of the elites.” (Id. ¶ 105).

          Jones’s video allegedly included commentary about Gilmore, spoken by a narrator while

   various images of Gilmore were successively displayed, including side-by-side photographs of

   Gilmore and George Soros. (Id.). After noting Gilmore’s experience with the State Department

   and Perriello, the narrator framed as “fishy” that “the first man on the scene whose tweet went

   viral and who was later interviewed on mainstream news as a witness just happened to be a State

   Department insider with a long history of involvement in psy-ops.” (Id.). The narrator then

   asserted that Gilmore’s “information was suddenly removed from the State Department

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          This video is no longer accessible on YouTube following the suspension of The Alex
   Jones Channel, and no party has presented the Court with a transcript. At this stage, the Court
   must assume the accuracy of Gilmore’s allegations about the video’s contents. See Universal
   Leather, 773 F.3d at 558.
                                                    28

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   websites” following his tweet and media appearances, citing this as evidence that the “elites

   know we’re on to them and are trying to cover their tracks.” (Id.).

          Here again, the Court finds that this video was sufficiently aimed at a Virginia audience

   to warrant the exercise of specific personal jurisdiction over Jones, InfoWars, and Free Speech

   Systems. Although neither InfoWars.com nor The Alex Jones Channel has a Virginia-specific

   focus, Jones’s video was exclusively focused on a Virginia event, and a significant portion of the

   video discussed particular Virginia citizens’ alleged roles in that event. The video’s title makes

   clear that the “Charlottesville [t]ragedy” is the focal point of the video. (Dkt. 29-7). As with

   Hoft and Creighton’s publications, Jones’s discussion of Perriello further reinforces the video’s

   Virginia-specific focus. And, here again, there are significant distinctions between this video

   and the facts of ALS Scan and Young. Unlike in Young, Jones’s video is exclusively, not

   tangentially, focused on Virginia residents and a Virginia event. And, unlike the ISP-defendant

   in ALS Scan, Defendants’ involvement with the video here was not passive: Jones produced the

   video, (dkt. 57-1), and posted it on his YouTube channel and InfoWars.com, which is operated

   by Free Speech Systems, a company Jones allegedly owns. (Am. Comp. ¶ 16; dkt. 57-2).

   Accordingly, because Jones, InfoWars, and Free Speech Systems “manifested an intent to direct”

   this video at a Virginia audience, the Court finds that it can exercise specific personal jurisdiction

   over these defendants. Young, 315, F.3d at 263.

                  5.      Wilburn’s Allen B. West Article

          On August 19, 2017, Wilburn, Hickford, Words-N-Ideas, and West allegedly published

   an article authored by Wilburn on the Allen B. West website, entitled “BOMBSHELL: New

   evidence suggests Charlottesville was a complete SET-UP.” (Am. Comp. ¶¶ 125–26; dkt. 29-8).

   The article stated that a Charlottesville police officer had “come forward” to “reveal the truth”



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   that “what went down in the city was not only condoned by city governance but was intentional,

   orchestrated and may have been planned as long ago as May.” (Dkt. 29-8 at 2). Wilburn’s

   article quoted material from a YourNewsWire.com article where this officer allegedly said that

   police “were specifically instructed to bring the radical left and right wing groups together to

   instigate violence and then told to ‘stand down’ once violence ensued in a deliberate effort to

   ignite a race riot.” (Id.). Wilburn wrote that, “if true,” this “revelation . . . may implicate Mayor

   Signer [of Charlottesville] and possibly other city officials in the death of a citizen.” (Id. at 3).

          Wilburn also quoted material from the YourNewsWire.com article about Gilmore, the

   substance of which appears identical to the commentary about Gilmore in Jones’s video,

   including statements suggesting that Gilmore was one of the “actors in this enormous set-up

   event,” that Gilmore’s presence in Charlottesville during the rally was “fishy,” that Gilmore is a

   “State Department insider with a long history of involvement in psy-ops,” and that Gilmore was

   “presented as an accidental witness.”     (Id. at 6).

          The Court finds that Wilburn’s article was sufficiently targeted at a Virginia audience to

   permit the exercise of specific personal jurisdiction over Wilburn, Hickford, and Words-N-Ideas.

   As with the previously discussed publications, the “general thrust and content” of Wilburn’s

   article is focused on a Virginia event and, in part, on a Virginia citizen’s role in that event.

   Young, 315, F.3d at 263. Here again, the article’s Virginia-specific focus is also highlighted by

   the title, which promises “[n]ew evidence” about “Charlottesville.” (Dkt. 29-8 at 2). In addition

   to discussing Gilmore, the article also contains repeated references to Virginia political figures

   like Perriello and Signer. (Dkt. 29-8 at 2–3, 5–6). Here again, there are crucial distinctions

   between this article and the facts of ALS Scan and Young. Unlike in Young, Wilburn’s article is

   focused only on Virginia events, a Virginia citizen, and Virginia political figures. And, unlike in



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   ALS Scan, Defendants’ involvement with this article was not passive: Wilburn wrote the article,

   and Hickford allegedly published it on the Allen B. West website as the site’s editor-in-chief and

   as the “managing member and registered agent” of Words-N-Ideas, which allegedly owned

   AllenBWest.com. (Id. ¶¶ 23–24, 125). Accordingly, the Court finds that it can exercise specific

   personal jurisdiction over Wilburn, Hickford, and Words-N-Ideas.

          The Court finds, however, that it cannot exercise specific personal jurisdiction over West.

   Gilmore does not allege that West authored the article or played any direct role in developing the

   article’s content. Setting aside conclusory allegations that West “published” and “ratified”

   Wilburn’s article, (Am. Comp. ¶¶ 271, 280), Gilmore simply alleges that West owned

   AllenBWest.com, (id. ¶ 21), and “shared a link to the article” on Twitter.32 (Id. ¶ 133). West

   disputes these assertions, stating in a declaration that he “was not involved with any decision to

   publish or republish” the article, that he “did not author or contribute to the article in any way,”

   that Words-N-Ideas and Hickford “purchased and operated” the Allen B. West website and

   exclusively operated his Facebook and Twitter accounts. (Dkt. 59-1). In response, Gilmore

   presents only a letter sent to West’s counsel declining to drop his claims against West because

   the Allen B. West website contained West’s picture, biography, and contact information, creating

   the appearance that West “owned, controlled, and endorsed” all content published on the



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           Gilmore does not explicitly assert that West’s alleged sharing of a link on Twitter
   constitutes publication or republication of Wilburn’s article, or that such conduct is sufficient to
   subject West to specific personal jurisdiction in Virginia. The Court concludes that this
   allegation is not alone enough to make a prima facie showing that West “manifested an intent to
   direct” the article at a Virginia audience. Young, 315, F.3d at 263. See also Roca Labs, Inc. v.
   Consumer Opinion Corp., 140 F.Supp.3d 1311, 1321 (M.D. Fla. 2015) (finding that simply
   “[d]istributing a link via Twitter” triggers immunity under Section 230 of the Communications
   Decency Act (CDA)). Similarly, a bare allegation that an individual owns a website where
   defamatory material appears, without other plausible factual allegations, is insufficient to show
   that an individual aimed content at a Virginia audience. This is precisely the sort of passive role
   found inadequate with respect to the ISP-defendant in ALS Scan. 293 F.3d at 714–15.
                                                   31

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   website. (Dkts. 70 at 45, n.15; 70-10 at 5).

          Gilmore fails to make a prima facie showing that this Court can exercise specific

   personal jurisdiction over West. Unlike with the other defendants and publications discussed

   above, Gilmore makes no concrete factual allegation that West played any direct role in writing,

   editing, or developing Wilburn’s article, or that West generally exerted editorial control over

   AllenBWest.com. Moreover, Gilmore’s allegation that West owned the Allen B. West website,

   (Am. Comp. ¶ 21), is not plausibly pled because the amended complaint includes conflicting and

   overlapping allegations that Words-N-Ideas was the “purported owner” of the Allen B. West

   website, and that Hickford was the “managing member and registered agent” of Words-N-Ideas

   and served as the “editor-in-chief” of the website.      (Id. ¶¶ 22–23; dkt. 70 at 61). Because

   Gilmore’s allegation that West owned AllenBWest.com is not plausibly pled, neither are his

   allegations that Wilburn acted as West’s agent or employee in writing the allegedly tortious

   article. (Am. Comp. ¶¶ 278–81).

          Without any plausible, concrete factual allegations that West played a direct role in

   creating, editing, or publishing the article in question, the Court cannot say that West

   “intentionally direct[ed] Internet activity to Virginia.” Young, 315 F.3d at 264, n.*. Thus, the

   Court cannot exercise personal jurisdiction over West, and he will be therefore be dismissed

   from this action.33

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          In sum, the Court finds that it can exercise diversity jurisdiction over this action, and can

   exercise specific personal jurisdiction over all defendants except West.34 West’s motion to


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          Since West’s motion to dismiss pursuant to Rule 12(b)(2) will be granted, his motion to
   dismiss pursuant to Rule 12(b)(6) will be dismissed as moot. (Dkt. 58).
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          Having concluded that it can exercise specific personal jurisdiction against all defendants
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   dismiss pursuant to Rule 12(b)(2) will be granted, and the remaining defendants’ motions to

   dismiss pursuant to Rules 12(b)(1) and 12(b)(2) will be denied.

          III.    Communications Decency Act Immunity

          Defendants Hoft, Wilburn, Hickford, and Words-N-Ideas argue that they are immune

   from suit under Section 230 of the Communications Decency Act (CDA). (Dkt. 47 at 28–33).

          The CDA states that “[n]o provider or user of an interactive computer service shall be”

   held liable “as the publisher or speaker of any information provided by another information

   content provider.” 47 U.S.C. § 230(c)(1). Under § 230, “[s]tate-law plaintiffs may hold liable

   the person who creates or develops unlawful content, but not the interactive computer service

   provider who merely enables that content to be posted online.”          Nemet Chevrolet, Ltd. v.

   Consumeraffairs.com, Inc., 591 F.3d 250, 252 (4th Cir. 2009).          An “interactive computer

   service” is defined as any “information service, system or access software that provides or

   enables computer access by multiple users to a computer server, including specifically a service

   or system that provides access to the Internet.” 47 U.S.C. § 230(f)(2). The “CDA’s grant of

   immunity applies only if the interactive computer service provider is not also an ‘information

   content provider’” with respect to the publication at issue.   Russell v. Implode-Explode Heavy

   Indus., Inc., No. DKC-08-2468, 2013 WL 5276557, at *6 (D. Md. Sept. 18, 2013).                 An


   except West, the Court assesses whether the exercise of jurisdiction over the remaining
   defendants is “constitutionally reasonable.” CFA Inst. v. Inst. of Chartered Fin. Analysts of
   India, 551 F.3d 285, 296 (4th Cir. 2009). The Court must consider whether litigating this action
   in Virginia would be so “difficult and inconvenient” as to place Defendants at a “severe
   disadvantage.” Id. Several factors inform this analysis, including “the burden on [the
   defendant], the interests of the Commonwealth as the forum state, and the [plaintiff’s] interest in
   obtaining relief.” Id. Here, Defendants make no argument concerning constitutional
   reasonableness, and the Court finds that litigating this action in Virginia will not be “so gravely
   difficult” as to place any defendant at a “severe disadvantage.” Id. Any “inequity” involved
   with “being haled into” Virginia is “mitigated” by the fact that it was “reasonably foreseeable”
   that Defendants “could be subject to suit” in Virginia, id., each having aimed allegedly tortious
   publications at a Virginia audience.
                                                   33

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   “information content provider” is defined as “any person or entity that is responsible, in whole or

   in part, for the creation or development of information provided through the Internet or any other

   interactive computer service.” 47 U.S.C. § 230(f)(3).

          The CDA does not define “what makes a party responsible for the ‘development’ of

   content” but courts examine “the totality of the circumstances” to determine whether a party

   “engage[d] in an act beyond the normal [editorial] functions of a publisher (such as deciding to

   publish, withdraw or modify third party content) that changes the meaning and purpose of the

   content.” Russell, 2013 WL, at *6 (quoting Fair Hous. Council of San Fernando Valley v.

   Roommates.com, LLC, 521 F.3d 1157, 1163 (9th Cir. 2008)). If a party “only passively displays

   content that is created entirely by third parties, then it is only a service provider with respect to

   that content” and thus shielded from suit under § 230. Id. But if a party creates, authors, or

   otherwise materially contributes to a publication such that the content “is properly attributable to

   them,” CDA immunity will not apply. Id. at 6–7. Under this standard, the Fourth Circuit has

   found that § 230 shields “interactive computer services” like Yelp, Consumeraffairs.com, and

   AOL from liability for allegedly defamatory messages, comments, and reviews posted by third

   parties. See Westlake Legal Grp. v. Yelp, Inc., 599 F. App’x 481, 485 (4th Cir. 2015); Nemet

   Chevrolet, 591 F.3d at 254; Zeran v. Am. Online, Inc., 129 F.3d 327, 328 (4th Cir. 1997).

          Here, Hoft, Wilburn, Hickford, and Words-N-Ideas are either providers or users of

   “interactive computer services,” since each of these defendants either used or provided access to

   a website with respect to the publications at issue. See Russell, 2013 WL, at *5 (“Courts

   generally conclude that a website falls within [the] definition” of “interactive computer

   services.”); Hare v. Richie, No. ELH-11-3488, 2012 WL 3773116, at *15 (D. Md. Aug. 21,

   2012) (“It is well settled that website operators are providers of interactive computer services.”).



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   The only remaining question is whether “the complaint pleads nonconclusory facts that plausibly

   indicate that any alleged drafting or revision by [Defendants] was something more than a website

   operator performs as part of its traditional editorial function, thereby rendering it an information

   content provider.” Westlake Legal Grp., 599 F. App’x at 485.

          Gilmore adequately alleges that Hoft, Wilburn, Hickford, and Words-N-Ideas are

   “information content providers.” Gilmore alleges that both Hoft and Wilburn authored their

   respective articles, (Am. Comp. ¶¶ 63–64, 126, 134), and both defendants concede this point in

   sworn declarations. (Dkts. 47-3 at 2; 46-5 at 2). Although Hoft included screenshots from a

   Reddit thread in his Gateway Pundit article, he contributed significant original content, including

   a headline, statements about Gilmore, and an assertion that “the State Department was involved

   in [the] Charlottesville rioting and is trying to cover it up.” (Dkt. 29-5 at 1–5, 8). Similarly,

   although Wilburn quoted a YourNewsWire.com article, Wilburn added an original headline and

   statements, asserting that the “depth of this conspiracy runs deeper” before quoting material

   about Signer and Gilmore, and stating that, “if true,” the information his article imparts “points

   directly to the reality of the ‘deep state’” and the “lengths that the Soros/Clinton/Obama one-

   world government cabal will go.” (Dkt. 29-8 at 2, 6). Thus, Gilmore adequately alleges that

   Hoft and Wilburn did more than allow “others’ content to be posted or re-posted” but rather

   “created [at least] some of the defamatory statements” in the articles. Ascend Health Corp. v.

   Wells, No. 4:12-cv-00083, 2013 WL 1010589, at *8 (E.D. N.C. Mar. 14, 2013). “Section 230

   immunity does not cover content which [the defendant] created [himself] or other content,

   although originating with a third party, which [the defendant] significantly altered.” Id.

          With respect to Hickford and Words-N-Ideas, these defendants concede that one theory

   under which they could be held liable for Wilburn’s Allen B. West article is that “WNI or Ms.



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   Hickford was Mr. Wilburn’s employer.” (Dkt. 47 at 40). Gilmore alleges liability under this

   exact theory. (Am. Comp. ¶¶ 278–79, 281). If either Hickford or Words-N-Ideas was “the

   creator or developer, in whole or in part, of the content at issue,” neither is “entitled to immunity

   under § 230(c)(1) as to that content.” Hare, 2012 WL, at *17. Here, Gilmore’s plausible

   allegations that Hickford served as editor-in-chief of AllenBWest.com35 and “president” of

   Words-N-Ideas, that Words-N-Ideas owned AllenBWest.com, and that these two defendants

   “produced and ratified” Wilburn’s article support an inference that these defendants played some

   role in developing Wilburn’s article or maintained some agency relationship with Wilburn. (Am.

   Comp. ¶¶ 23–24, 280; dkts. 47-4; 70 at 61). Making all “reasonable factual inferences” in

   Gilmore’s favor, the Court finds that Gilmore plausibly alleges that Hickford and Words-N-Ideas

   acted as information content providers. Hare, 2012 WL, at *17. In sum, the Court concludes

   that Hoft, Wilburn, Hickford, and Words-N-Ideas are not immune from suit under § 230.

          IV.     Rule 12(b)(6) – Whether Gilmore States Claims for Defamation and IIED

          Defendants move to dismiss Gilmore’s claims pursuant to Rule 12(b)(6), arguing that

   Gilmore fails to adequately plead defamation and IIED. (Dkts. 46; 56; 58). A motion to dismiss

   pursuant to Rule 12(b)(6) tests the legal sufficiency of a complaint to determine whether a

   plaintiff has properly stated a claim; it “does not resolve contests surrounding the facts, the

   merits of a claim, or the applicability of defenses.” Republican Party of N.C. v. Martin, 980 F.2d

   943, 952 (4th Cir. 1992). The Court must accept as true all well-pleaded factual allegations in

   the complaint. See Vitol, S.A. v. Primerose Shipping Co., 708 F.3d 527, 539 (4th Cir. 2013).

   The Court must take all facts and reasonable inferences in favor of the plaintiff, disregard any

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           To support this allegation, Gilmore includes links to an article containing a quote from,
   and a screenshot of, a Facebook post where Hickford describes herself as the editor-in-chief of
   the Allen B. West website, (Am. Comp. ¶ 23, n.21), as well as to a video where West describes
   Hickford as the editor-in-chief of the Allen B. West website. (Id. ¶ 23, n.23).
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   legal conclusions, and not credit any formulaic recitations of the elements. See Iqbal v. Ashcroft,

   556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007).

          The Court finds that Gilmore has plausibly alleged sufficient facts to state a claim for

   defamation against each defendant. However, Gilmore has not adequately pled IIED, and those

   claims will be dismissed. Before analyzing the adequacy of Gilmore’s factual allegations, the

   Court must first address which state’s law applies.

                  A.     Choice of Law – Virginia Law Applies to All Defendants

          Defendants Jones, McAdoo, InfoWars, and Free Speech Systems argue that Texas law

   should apply to Gilmore’s claims against them because, they contend, the articles and videos

   associated with them were published in Texas. (Dkt. 57 at 12). The remaining defendants did

   not raise any choice of law issue and cited only Virginia law in briefing and at oral argument.36

   Gilmore argues that Virginia law should apply to all his claims. (Dkt. 70 at 21–22).

          Since this is a diversity action, the Court applies the choice of law principles of Virginia.

   See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496–97 (1941). For tort actions, such as

   defamation and IIED, “Virginia applies the doctrine of lex loci delicti, meaning the law of the

   place of the wrong governs all matters related to the basis of the right of action.” Dreher v.

   Budget Rent-A-Car Sys., Inc., 634 S.E.2d 324, 327 (Va. 2006). See also McMillan v. McMillan,

   253 S.E.2d 662, 663 (Va. 1979) (“In resolving conflicts of laws, the settled rule in Virginia is

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           The Court construes these defendants’ silence and consistent citation of Virginia law as
   consent to apply Virginia law to Gilmore’s claims against them. See Vanderhoof-Forschner v.
   McSweegan, 215 F.3d 1323, at *2, n.3 (4th Cir. 2000) (“[B]ecause the parties agree that
   Maryland law governs their claims, we need not inquire further into the choice-of-law
   questions.” (unpublished table opinion)); Am. Fuel Corp. v. Ut. Energy Dev. Co., 122 F.3d 130,
   134 (2d Cir. 1997) (“[W]here the parties have agreed to the application of the forum law, their
   consent concludes the choice of law inquiry.”); Jackson v. Michalski, No. 3:10-cv-00052, 2011
   WL 3679143, at *11, n.13 (W.D. Va. Aug. 22, 2011) (applying Virginia law where the
   “[p]lainitff brought his tort claims under Virginia law” and the defendants “agree[d] that Virginia
   law should apply”).
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   that the substantive rights of the parties in a multistate tort action are governed by the law of the

   place of the wrong.”). Virginia courts typically define the “place of the wrong” as the “state in

   which the wrongful act took place, wherever the effects of that act are felt.” Gen. Assur. Of Am.,

   Inc., v. Overby-Seawell Co., 893 F.Supp.2d 761, 777–78 (E.D. Va. 2012) (quoting Milton v. IIT

   Research Inst., 138 F.3d 519, 522 (4th Cir. 1998)). In actions involving allegedly tortious

   publications, Virginia courts define the place of the wrongful act as the state where the content at

   issue was published. See ABLV Bank v. Ctr. for Advanced Def. Studies Inc., No. 1:14-cv-1118,

   2015 WL 12517012, at *1 (E.D. Va. Apr. 21, 2015) (“[F]or libel claims, Virginia looks to where

   the statement was published.”).      Publication occurs when the allegedly tortious content is

   “communicated to a third party” so as to be “heard and understood by such person.” Katz v.

   Odin, Feldman & Pittleman, P.C., 332 F.Supp.2d 909, 915 (E.D. Va. 2004) (citing Thalhimer

   Bros. v. Shaw, 159 S.E. 87 (Va. 1931)).

          The Supreme Court of Virginia has yet to address how the “place of the wrong” should

   be defined in “situations where the defamatory content is ‘published’ in multiple jurisdictions,”

   such as on a “website that can be accessed worldwide,” or in Internet tort cases involving, as

   here, multiple defendants and multiple allegedly tortious publications. Kylin Network (Beijing)

   Movie & Culture Media Co. Ltd. v. Fidlow, No. 3:16-cv-999, 2017 WL 2385343, at *3, n.2 (E.D.

   Va. June 1, 2017). See also Galustian v. Peter, 561 F.Supp.2d 559, 565 (E.D. Va. 2008) (“The

   Virginia courts have yet to address the lex loci rule in the context of multistate defamation by

   means of mass communication.”), reversed in part on other grounds, 591 F.3d 724 (4th Cir.

   2010). Since the Supreme Court of Virginia has not addressed this precise question, the Court

   must predict how it would apply lex loci delicti in a case like this. See Horace Mann Ins. Co. v.

   Gen. Star Nat. Ins. Co., 514 F.3d 327, 329 (4th Cir. 2008) (“Because we are sitting in diversity,



                                                    38

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   our role is to apply the governing state law, or, if necessary, predict how the state’s highest court

   would rule on an unsettled issue.”).

          The Court concludes that the Supreme Court of Virginia, if applying lex loci delicti in a

   multi-defendant, multi-state Internet tort case, would define “the place of the wrong” as the state

   where the plaintiff is injured as a result of the allegedly tortious content, as opposed to the state

   where publication occurs.37 This is so for several reasons. First, the underlying rationale for

   Virginia’s traditional interpretation of lex loci delicti as the place of the tortious action is that

   approach’s “uniformity, predictability, and ease of application.” McMillan, 253 S.E.2d at 664.

   In a multi-defendant, multi-state Internet tort case, those values are effectuated only by defining

   the “place of the wrong” as the place where the plaintiff’s injuries are concentrated and thereby

   applying only one state’s law. Defining the “place of the wrong” as the place of publication in a

   case like this would inevitably require the cumbersome application of a patchwork of state law.

   Indeed, in a case involving defamatory statements made on a nationally syndicated radio show

   “published simultaneously in multiple state jurisdictions,” the Fourth Circuit noted that

   “application of the traditional lex loci delicti rule becomes cumbersome, if not completely

   impractical” when applied in such a case. Wells v. Liddy, 186 F.3d 505, 527 (4th Cir. 1999).

   37
           The Court does not hold that the Supreme Court of Virginia would apply the Second
   Restatement’s “most significant relationship” test, which provides that defamation cases should
   be decided under the law of the state with “the most significant relationship to the occurrence
   and the parties,” which will “usually” be the state of the plaintiff’s domicile. Wells v. Liddy, 186
   F.3d 505, 528 (4th Cir. 1999) (quoting Restatement (Second) of Conflict of Laws § 150 (1971)).
   Defendants assert that Gilmore “urges the Court to abandon lex loci delicti doctrine in favor of”
   this test. (Dkt. 90 at 9). But this mischaracterizes Gilmore’s argument, which appears to
   primarily advocate not for adoption of the Second Restatement test but rather for another variant
   of lex loci delicti that defines the “place of the wrong” as the site of the plaintiff’s injury. (Dkt.
   70 at 32–33). See Main St. Bank v. Nat’l Excavating Corp., 791 F.Supp.2d 520, 530 (E.D. Va.
   2011) (describing the two variants). Had Gilmore asked the Court to adopt the “most significant
   relationship” test, the Court could not have done so because the Supreme Court of Virginia has
   explicitly and consistently rejected that test. See, e.g., Jones v. R.S. Jones & Assocs., 431 S.E.2d
   33, 34 (Va. 1993); McMillan, 253 S.E.2d at 664.
                                                    39

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          Second, defining the “place of the wrong” as the place of publication in a case like this

   raises thorny questions about the nature of online publication, a process that does not necessarily

   occur at one readily identifiable geographic point. The traditional lex loci delicti rule “presumes

   that the defamatory statement is published (i.e., communicated to third parties) in one geographic

   location,” but publication via the Internet results in instantaneous “multistate (if not[] worldwide)

   publication.” Ascend Health Corp., 2013 WL, at *2. If “publication” is defined as the place

   where content is communicated to third parties, it is unclear whether “publication” of online

   content occurs in the state where an individual uploads content, the state where the relevant

   media platform or publication maintains headquarters, the state where a website’s servers are

   located, or the state where third parties actually view the content (which, absent restrictions on

   the geographic reach of a particular online publication,38 will be in all fifty states and across the

   world). See Katz, 332 F.Supp.2d at 915. Indeed, district courts in this circuit have reached

   varying conclusions about the meaning of publication in different online contexts.39

          Given the underlying values animating the Supreme Court of Virginia’s approach to lex

   loci delicti and the complexity of online publication, the Court finds that the Supreme Court of

   Virginia, in extending lex loci delicti to multi-defendant, multi-state Internet tort cases, would

   38
           See A. Benjamin Spencer, Jurisdiction and the Internet: Returning to Traditional
   Principles to Analyze Network-Mediated Contacts, 2006 U. ILL. L. REV. 71, 91–93 (2005)
   (outlining methods Internet publishers can use to “restrict the global availability” of online
   “content to a more limited geographical area than otherwise results from simply posting
   information on the Internet”).
   39
          Compare ABLV Bank, 2015 WL, at *2 (defining the place of publication as the location
   of the office in which an online report was published), with Wiest v. E-Fense, Inc., 356
   F.Supp.2d 604, 608 (E.D. Va. 2005) (defining the place of publication as the “corporate
   headquarters” of the company controlling a website where allegedly defamatory statements
   appeared), with Velocity Micro, Inc., v. J.A.Z. Mktg., Inc., Nos. 3:11-cv-473, 3:12-cv-245, 2012
   WL 3017870, at *6 (E.D. Va. July 23, 2012) (defining the place of publication in a case
   involving defamation “executed via email correspondence” as the “place where the email was
   opened and read”), and Galustian, 561 F.Supp.2d at 565 (same).
                                                    40

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   define the “place of the wrong” as the state where the plaintiff is primarily injured as a result of

   the allegedly tortious online content. Here, Gilmore alleges that the brunt of the personal and

   professional injury he suffered as a result of Defendants’ publications occurred in Virginia,

   where he lives and works. (See, e.g., Am. Comp. ¶¶ 1–6). Accordingly, the Court will apply

   Virginia law with respect to all of Gilmore’s claims against Defendants.

                  B.      Gilmore’s Defamation Claims

          Defendants contend under Rule 12(b)(6) that Gilmore fails to state claims for defamation

   against them. Under Virginia law, the elements of defamation are “(1) publication of (2) an

   actionable statement with (3) the requisite intent.” Choi v. Kyu Chul Lee, 213 F. App’x 551, 552

   (4th Cir. 2009) (quoting Jordan v. Kollman, 612 S.E.2d 203, 206 (Va. 2005)). No party disputes

   that the statements at issue here were published online for third parties to view and digest. Thus,

   the Court’s inquiry focuses only on whether Gilmore adequately alleges that the statements at

   issue are actionable and that Defendants published these statements with the requisite intent.

   The Court first addresses what level of intent Gilmore must allege.

                  1.      Gilmore Qualifies as a Limited-Purpose Public Figure.

          “The requisite intent a plaintiff must prove in a defamation action depends upon the

   plaintiff’s status as a public or private figure.” Reynolds v. Pionear, LLC, No. 3:15-cv-209, 2016

   WL 1248866, at *5 (E.D. Va. Mar. 25, 2016). Plaintiffs who qualify as private figures must

   show that the defendant who published an allegedly defamatory statement either “knew it to be

   false, or believing it to be true, lacked reasonable grounds for such belief, or acted negligently in

   failing to ascertain the facts on which the publication was based.” Askew v. Collins, 722 S.E.2d

   249, 251 (Va. 2012). Plaintiffs who qualify as public officials, public figures, or limited-purpose

   public figures must show that a defendant published the allegedly defamatory content with



                                                    41

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   “actual malice.” Eramo v. Rolling Stone, LLC, 209 F.Supp.3d 862, 871 (W.D. Va. Sept. 22,

   2016) (citing New York Times Co. v. Sullivan, 376 U.S. 254, 279–80 (1964)). The Court defines

   the actual malice standard after assessing whether Gilmore qualifies as a private or public figure.

          Gilmore is presumed to have been a “private individual at the time of publication, subject

   to defendants’ burden of proving” that he was a “public official or a limited-purpose public

   figure.” Id. Defendants argue that Gilmore qualifies as a limited-purpose public figure.40 (Dkts.

   47 at 61–64; 57 at 18–19). “When a person thrusts himself into the forefront of public debate, he

   is treated as a ‘limited-purpose public figure’ for purposes of comment on issues arising from

   that debate.” Carr v. Forbes, Inc., 259 F.3d 273, 278 (4th Cir. 2001).

          In deciding whether a plaintiff qualifies as a limited-purpose public figure, the Court

   must ask “whether a public controversy gave rise to the defamatory statement[s]” and “whether

   the plaintiff’s participation in that controversy sufficed to establish him as a public figure within

   the context of that public controversy.” Id. Defendants must prove that “(1) the plaintiff had

   access to channels of effective communication; (2) the plaintiff voluntarily assumed a role of

   special prominence in the public controversy; (3) the plaintiff sought to influence the resolution

   or outcome of the controversy; (4) the controversy existed prior to the publication of the

   defamatory statement; and (5) the plaintiff retained public-figure status at the time of the alleged

   defamation.” Eramo, 209 F.Supp.3d at 869 (quoting Fitzgerald v. Penthouse Int’l, Ltd., 691

   F.2d 666, 668 (4th Cir. 1982)).

   40
           Defendants aver that Gilmore is also a public official, since he is currently on leave from
   his role as a Foreign Service Officer with the U.S. State Department. (Dkts. 57 at 20, n.14; 90 at
   17–18, n.11; Am. Comp. ¶ 13). The Court has serious doubts about the merits of this claim. See
   Horne v. WTVR, LLC, 893 F.3d 201, 207 (4th Cir. 2018) (noting that a plaintiff qualifies as a
   public official if he has, “or appear[s] to the public to have, substantial responsibility for or
   control over the conduct of governmental affairs”). But the Court need not decide this issue,
   because Gilmore qualifies as a limited-purpose public figure, subjecting him to the same actual
   malice standard applicable to public officials.
                                                    42

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          Before assessing whether Defendants satisfy this test, the Court must make the “threshold

   determination” whether a public controversy gave rise to the alleged defamation and, if so,

   decide “the scope of the controversy.” Id. A public controversy “must be a real dispute” that “in

   fact has received public attention because its ramifications will be felt by persons who are not

   direct participants.”   New Life Ctr., Inc. v. Fessio, 229 F.3d 1143, at *4 (4th Cir. 2000)

   (unpublished table decision) (quoting Foretich v. Capital Cities/ABC, Inc., 37 F.3d 1541, 1554

   (4th Cir. 1994)). The Court “defines the scope” of a public controversy “through a fair reading

   of the [publications] in [their] entirety.” Eramo, 209 F.Supp.3d at 870.

          Although Gilmore argues that “there was no public controversy” giving rise to

   Defendants’ publications, (dkt. 70 at 50), he effectively concedes that such a controversy existed,

   stating that “the controversial aspects of the Charlottesville events were the broader questions of

   white supremacy and the meaning behind the rally and counter-protests.” (Id. at 50–51). Given

   this statement, and having reviewed Defendants’ publications, the Court concludes that a public

   controversy about the meaning underlying the Unite the Right rally and associated counter-

   protests gave rise to Defendants’ publications. Although Defendants’ statements regarding a

   “deep state” conspiracy to orchestrate violence in Charlottesville were not themselves the subject

   of a genuine public controversy, “it would be inappropriate to shrink all controversies to the

   specific statements of which a plaintiff complains.” Eramo, 209 F.Supp.3d at 870. The Court

   finds that the publications’ broader focus on the meaning underlying the Unite the Right rally

   and associated counter-protests was addressed to a public controversy on that subject.

          The Court next asks whether Gilmore’s “participation” in this controversy “sufficed to

   establish him as a public figure within the context of that public controversy.” Carr, 249 F.3d at

   278. Applying the five-factor test utilized in the Fourth Circuit, Eramo, 209 F.Supp.3d at 869,



                                                   43

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   the Court finds that Gilmore qualifies as a limited-purpose public figure with respect to the

   controversy surrounding the meaning of the Unite the Right rally and attendant counter-protests.

          First, Gilmore plainly “had access to channels of effective communication.” Id. Gilmore

   uploaded his video of Fields’s attack to his Twitter account and subsequently “spoke with

   multiple television news networks and other news media to provide an eyewitness account.”

   (Am. Comp. ¶¶ 32–34). At oral argument, Gilmore conceded that he gave interviews to, at a

   minimum, CNN, NBC, and The New York Times in the hours and days following the rally, and

   that he wrote an online editorial for Politico on August 14, 2017 describing and analyzing what

   he witnessed in Charlottesville.

          With respect to the second and third factors, Defendants have established that Gilmore

   “voluntarily assumed a role of special prominence in the public controversy” and “sought to

   influence the resolution” of the controversy. Foretich, 37 F.3d at 1553. Gilmore admits that he

   spoke with the press on multiple occasions in the hours and days after the rally, (Am. Comp. ¶¶

   32–34), but asserts that he did so only as a “witness to history in response to their repeated

   requests.” (Dkt. 70 at 41). But Gilmore’s media appearances went beyond serving as a mere

   “witness to history.”   Wells, 186 F.3d at 537. Although Gilmore did not solicit interview

   requests, he voluntarily “consented to appear” when asked, (Am. Comp. ¶ 35), and voluntarily

   penned a Politico editorial describing, and commenting on the broader significance of, what he

   witnessed at the rally. Having reviewed a transcript of Gilmore’s August 13, 2017 appearance

   on CNN, as well as the text of the August 14, 2017 Politico editorial,41 the Court observes that,



   41
           Defendants provide links to the CNN transcript and Politico article. (Dkt. 90 at 17–21).
   In ruling on motions to dismiss, “courts are permitted to consider facts and documents subject to
   judicial notice [under FRE 201] without converting the motion to dismiss into one for summary
   judgment.” Zak v. Chelsea Therapeutics Intern., Ltd., 780 F.3d 597, 607 (4th Cir. 2015). Courts
   may also “properly take judicial notice of matters of public record,” Philips v. Pitt Cty. Mem’l
                                                  44

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   in addition to providing a factual account of what he witnessed, Gilmore commented on the rally

   organizers’ ideological views and President Trump’s reaction to the rally.42         Such public

   commentary, even construed in the light most favorable to Gilmore, indicates that Gilmore was

   not “simply giving an eyewitness account of events that [were] no longer controversial.” Wells,

   186 F.3d at 537. Rather, Gilmore “sought to influence” the resolution of the public debate about

   the meaning of the rally. Hatfill, 532 F.3d at 319. Indeed, the complaint states that part of

   Gilmore’s motivation for posting his footage of Fields’s attack was to rebut “media outlets [that]

   were suggesting the incident was something other than a deliberate attack” by showing that the

   “attack was a deliberate attempt to injure and kill peaceful counter-protestors.” (Am. Comp. ¶

   31). The CNN transcript and Politico editorial reflect a similar motivation to influence the

   burgeoning controversy about the meaning of Fields’s attack and the rally’s ideological

   underpinnings. Thus, the Court concludes that Gilmore “voluntarily assumed a role of special

   prominence in,” and “sought to influence the resolution of,” the public controversy surrounding




   Hosp., 572 F.3d 176, 180 (4th Cir. 2009), as well as “newspaper articles” attached to the motion
   to dismiss when the articles “discuss the subject matter of the case.” AdvanFort Co. v. Int’l
   Registries, Inc., No. 1:15-cv-220, 2015 WL 2238076, at *10, n.10 (E.D. Va. May 12, 2015). The
   same is presumably true for transcripts of a plaintiff’s television appearances where, as here,
   those appearances concern the subject matter of the case. Thus, the Court takes judicial notice of
   the CNN transcript and the Politico editorial. The Court construes these materials “in the light
   most favorable to” Gilmore, and does not use them for the impermissible purpose of
   “contradicting the complaint.” Zak, 780 F.3d at 607.
   42
           For instance, Gilmore stated on CNN that the rally’s organizers were motivated by a
   desire to “deny certain classes of citizens their right to exist,” and that President Trump’s
   response to the rally was “a failure in leadership.” (Dkt. 90 at 17 (citing 2017 WLNR
   25021156)). Similarly, in the Politico editorial, Gilmore wrote that the violence in
   Charlottesville was a “logical outcome of our escalating, toxic politics of hate,” that “we now
   have a president who has emboldened white supremacists,” and that “the president’s refusal to
   specifically denounce the groups responsible for the violence . . . is the kind of enabling that I
   have seen turn other countries into bloody war zones.” (Id. at 19, n.15 (linking to editorial)).


                                                  45

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   the Unite the Right rally’s underlying meaning. Eramo, 209 F.Supp.3d at 869.43

          The fourth and fifth factors are also satisfied here. The controversy about the rally’s

   underlying meaning “existed prior to the publication” of Defendants’ articles and videos. Id.

   Gilmore alleges that “media outlets” were “already suggesting” that Fields’s attack “was

   something other than a deliberate attack” prior to his Twitter post, which preceded Gilmore’s

   initial media appearances and the posting of Creighton’s American Everyman article (the first of

   Defendants’ publications). (Am. Comp. ¶ 31). Moreover, Gilmore “retained public-figure status

   at the time of the alleged defamation,” since his media appearances on the subject of the rally

   spanned from August 12, 201744 (the day before Creighton’s article was published) through, at

   least, August 24, 201745 (three days after the publication of Jones’s video, the last of Defendants’

   publications). (Dkt. 90 at 15–19).


   43
           Gilmore’s media contacts are analogous to the activities of other individuals courts have
   deemed limited-purpose public figures. See, e.g., Carr v. Forbes, 259 F.3d 273, 281 (4th Cir.
   2001); Eramo, 209 F.Supp.3d at 870; Faltas v. State Newspaper, 928 F.Supp. 637, 645 (D. S.C.
   1996). To be sure, the controversy surrounding the rally developed rapidly, as did Gilmore’s
   status as a limited-purpose public figure. But it is unremarkable that an event that received
   extensive national news coverage could spawn a public controversy, and thus public figures,
   within hours. The ubiquity of social media and a twenty-four hour news cycle increasingly
   fosters an environment where public controversies develop at lightning speed. Indeed, Gilmore
   acknowledges this reality, noting that a public controversy about the meaning of Fields’s attack
   had already taken shape prior to his August 12, 2017 tweet. (Am. Comp. ¶ 31).
   44
          Gilmore alleges that his media appearances began as early as August 12, 2017. (Am.
   Comp. ¶¶ 33–35). Questions remain at this stage about the exact timing of these initial media
   appearances. However, as discussed below, Gilmore has plausibly alleged actual malice—a
   more stringent pleading standard than he would have to meet as a private figure—against
   Creighton. Thus, even were he not a limited public figure at the time of Creighton’s publication,
   Gilmore has satisfactorily stated a claim for defamation against Creighton.
   45
           Defendants cite the transcripts of Gilmore’s appearances on PBS Newshour on August
   23, 2017, and NPR’s All Things Considered on August 24, 2017. (Dkt. 90 at 20, n.17). In both
   appearances, Gilmore commented on the rally’s underlying meaning and broader political
   significance. For the purpose of evaluating the temporal span of Gilmore’s media appearances,
   the Court takes judicial notice of these transcripts, the authenticity and accuracy of which
   Gilmore has not disputed. See Zak, 780 F.3d at 606–07.
                                                   46

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          In sum, the Court finds that Gilmore qualifies as a limited public figure and must

   therefore allege that Defendants published their allegedly defamatory articles and videos with

   actual malice. The Court now turns to whether Gilmore adequately alleges that Defendants’

   publications were actionable and published with the requisite intent.

                  2.     Gilmore Adequately Alleges that Defendants’ Publications are
                         Actionable and were Published with Actual Malice.

          To survive Defendants’ motion to dismiss, Gilmore must plausibly allege that Defendants

   published “actionable statement[s]” with actual malice. Choi, 213 F. App’x at 552. Under

   Virginia law, “[a]n actionable statement is one that is both false and defamatory.”           Id.

   Actionable statements must also be “of or concerning” the plaintiff. Eramo, 209 F.Supp.3d at

   875. See also Gazette, Inc. v. Harris, 325 S.E.2d 713, 738 (Va. 1985) (noting that a plaintiff

   need only show “the publication was intended to refer to him and would be so understood by

   persons reading it who knew him”). False statements are those that “contain a provably false

   factual connotation.” Tronfeld v. Nationwide Mut. Ins. Co., 636 S.E.2d 447, 450 (Va. 2006).

   Defamatory statements are those that tend to “harm the reputation of another as to lower him in

   the estimation of the community or to deter third persons from associating or dealing with him.”

   Choi, 312 F. App’x at 552. See also Chapin v. Knight-Ridder, Inc., 993 F.2d 1087, 1092 (4th

   Cir. 1993) (noting that defamatory words “are those that make the plaintiff appear odious,

   infamous, or ridiculous”).

          The First Amendment “provides protection for statements that cannot ‘reasonably [be]

   interpreted as stating actual facts’ about an individual.” CACI Premier Tech., Inc., v. Rhodes,

   536 F.3d 280, 293 (4th Cir. 2008) (quoting Milkovich v. Lorain Journal Co., 497 U.S. 1, 20

   (1990)). Such protection applies to “rhetorical hyperbole, a vigorous epithet,” and “loose,

   figurative, or hyperbolic language.” Milkovich, 497 U.S. at 17, 21. See also Yeagle v. Collegiate

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   Times, 497 S.E.2d 136, 137 (Va. 1998) (noting that “rhetorical hyperbole” is not actionable even

   if “insulting, offensive, or otherwise inappropriate”).

          However, “a defamatory charge need not be made in direct terms; it may be made by

   inference, implication, or insinuation.” Perk v. Vector Res. Grp., Ltd., 485 S.E.2d 140, 144 (Va.

   1997). See also Eramo, 209 F.Supp.3d at 876 (noting that if a “reasonable factfinder could

   conclude” that the statements “imply an assertion [of fact], the statements are not protected”). A

   “[defamation]-by-implication plaintiff must make an especially rigorous showing where the

   expressed facts are literally true.” Chapin, 993 F.2d at 1092–93. The defamatory implication

   must be “present in the plain and natural meaning of the words used” such that the words can be

   “reasonably read to impart [a] false innuendo.” Id. See also Tronfeld, 636 S.E.2d at 450

   (“Although a defamatory statement may be inferred, a court may not extend the meaning of the

   words beyond their ordinary and common acceptance.”).               In evaluating defamation-by-

   implication claims, “every fair inference that may be drawn from the pleadings must be resolved

   in the plaintiff’s favor.” Webb v. Virginian-Pilot Media Cos., LLC, 752 S.E.2d 808, 811 (Va.

   2014) (quoting Carwile v. Richmond Newspapers, 82 S.E.2d 588, 592 (Va. 1954)).

          Statements of opinion—defined as statements that are “relative in nature and depend

   largely upon the speaker’s viewpoint”—are “generally not actionable because such statements

   cannot be objectively characterized as true or false[.]” Jordan, 612 S.E.2d at 206. However,

   “[f]actual statements made to support or justify an opinion . . . can form the basis of an action for

   defamation.” Tharpe v. Saunders, 737 S.E.2d 890, 893, n.3 (Va. 2013). Since expressions of

   “opinion” can “often imply an assertion of objective fact,” the U.S. Supreme Court has “refused

   to ‘create a wholesale defamation exemption for anything that might be labeled ‘opinion’.” Id.

   (quoting Milkovich, 497 U.S. at 18).



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           “Whether a statement is an actionable statement of fact or non-actionable opinion is a

   matter of law to be determined by the court.” Jordan, 612 S.E.2d at 206–07. In making this

   determination, courts should not “isolate parts of an alleged defamatory statement” but rather

   must consider the statement “as a whole.” Gov’t Micro Res., Inc. v. Jackson, 624 S.E.2d 63, 69

   (Va. 2006). See also Eramo, 209 F.Supp.3d at 875 (noting that courts should “look[] to the

   context and tenor” of the publication in deciding whether statements “convey a factual

   connotation”). “On a motion to dismiss a [defamation] suit because of no actionable statement,

   the court must of course credit the plaintiff’s allegation of the factual falsity of a statement.”

   Chapin, 993 F.2d at 1092.

          As a limited-purpose public figure, Gilmore must also allege that Defendants published

   their statements with actual malice.    A statement is published with actual malice where a

   defendant has “knowledge that it was false” or acts with “reckless disregard of whether it was

   false or not.” New York Times Co., 376 U.S. at 280. A defendant’s “failure to investigate” or

   observe journalistic standards, although not determinative, is relevant to the actual malice

   inquiry. Eramo, 209 F.Supp.3d at 871–72. See also Biro v. Conde Nast, 807 F.3d 541, 546 (2d

   Cir. 2015) (“[R]eliance on anonymous or unreliable sources without further investigation may

   support an inference of actual malice”). A defendant’s “[r]epitition of another’s words” that the

   “repeater knows” are “false or inherently improbable” is similarly non-dispositive but relevant,

   as is “evidence that a defendant conceived a story line in advance” and then “set out to make the

   evidence conform” to that story. Eramo, 209 F.Supp.3d at 872 (citations omitted). See also

   Harte-Hanks Commc’ns., Inc. v. Connaughton, 491 U.S. 657, 668 (1989) (noting that, although

   “courts must be careful not to place too much reliance on such factors,” it “cannot be said that

   evidence concerning motive or care never bears any relation to the actual malice inquiry”).



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          “[C]onclusory allegation[s]” and “mere recitation[s]” of the actual malice standard are

   insufficient. Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc., 674 F.3d 369, 378 (4th Cir.

   2012). “Nevertheless, because actual malice is a subjective inquiry, a plaintiff is entitled to

   prove the defendant’s state of mind through circumstantial evidence.” Spirito v. Peninsula

   Airport Comm’n, 350 F.Supp.3d 471, 481 (E.D. Va. 2018). Gilmore “need only plead sufficient

   facts that, if proven, create a plausible inference” of actual malice. Id. The Court now examines

   each publication to assess whether Gilmore adequately alleges that Defendants’ statements are

   actionable and were published with actual malice.

                  i.     Creighton’s American Everyman Article & Video

          Gilmore alleges that Creighton’s August 13, 2017 American Everyman article “falsely

   implies his knowledge of and participation in Fields’[s] attack” by asserting “as a fact” that

   “Gilmore’s presence during the car attack was due to his foreknowledge that the attack would

   happen.” (Am. Comp. ¶¶ 39–43). Creighton allegedly wrote the following:

           Not only did [Gilmore] HAPPEN to be at the right place at the right time, but he
          was ALREADY recording with his camera and it was focused on that car, for
          SOME REASON as it drove by the corner at a reasonable rate. . . . But Brennan
          wasn’t filming [other cars in front of Fields’s car] was he? No. But he did film the
          Charger heading all the way down the street into the crowd of protestors . . .
          almost as if he knew it would run into them rather than simply brake and sit and
          wait like the other cars in front of it. Again, not a smoking gun in and of itself,
          but when combined with all the other coincidences surrounding his video PLUS
          the fact that he was ready to go with the divide and conquer establishment version
          of events for CNN while people were still lying on the hot pavement, it kind of
          makes you wonder, doesn’t it? [. . .]

          [I]s it possible this man with links to Special Ops and CIA and various other black
          ops kinds of actors just HAPPENED to be there at a particular moment in history?
          Yeah, I guess that’s possible, if you’re into coincidence theories I suppose. But
          I’m not into such things. Clearly the State Department has a lot of disgruntled
          former employees who would delight in destabilizing Trump’s tenure even more
          than they already have. And Gilmore, like Tom [Perriello], seem[s] particularly
          invested in undermining the ‘alt-right’ in the lead-up to the next round of
          elections. Waaaaaay too much coincidence for me folks. Waaaaaay too much.

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          (Id. ¶ 38; dkt. 29-1 at 4, 9).

          Creighton allegedly made similar statements about Gilmore in his August 13, 2017

   American Everyman video, stating the following:

          [Gilmore] just happened to be there, at the specific place, where he could film the
          whole thing . . . He just happened to have his camera running, he just happened
          for some reason to record this car driving for five seconds, before it did anything
          out of the ordinary, and just happened to have the right message, just the right
          establishment message for CNN. . . . [Gilmore] has ties to special operations,
          special forces, CIA, State Department, Hillary Clinton, and Tom Perriello, who
          has a long career of doing this kind of thing. People will call me a conspiracy
          theorist because what I am suggesting here is that someone had foreknowledge,
          that this event was going to happen. . . . This man has every reason to want to see
          the support, the base for Donald Trump again mischaracterized as Nazis. . . . This
          guy just happens to be on that fucking corner with his camera rolling, watching
          that car drive by for five seconds, and he’s former State Department, and close to
          Tom Perriello, who is also former State Department obviously, he’s got a fucking
          ax to grind, that’s one hell of a goddamn coincidence, and you got to be a special
          kind of stupid to buy that.”

          (Am. Comp. ¶ 46).

          Gilmore plausibly alleges that Creighton’s statements about him were false, defamatory,

   and published with actual malice. Creighton’s statements in both the article and video are

   “reasonably capable of conveying the defamatory innuendo” that Gilmore filmed Fields’s attack

   because he had foreknowledge of the attack and as part of an effort to use the rally to undermine

   President Trump and the “alt-right.” Pendleton v. Newsome, 772 S.E.2d 759, 765 (Va. 2015).

   Creighton’s statements about Gilmore are not reasonably characterized as mere expressions of

   opinion.   Pure expressions of opinion generally are not “subject to objective verification.”

   Eramo, 209 F.Supp.3d at 875. But Creighton’s insinuation that Gilmore filmed Fields’s attack

   because he had foreknowledge of the attack and intended to use the footage for political purposes

   is “capable of being proven true or false.” Fuste v. Riverside Healthcare Ass’n, Inc., 575 S.E.2d

   858, 862 (Va. 2003). Thus, Gilmore has adequately alleged that Creighton’s statements “contain

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   a provably false factual connotation.” Tronfeld, 636 S.E.2d at 450.

          Moreover, Gilmore plausibly alleges that Creighton’s statements were defamatory.

   Creighton’s insinuation that Gilmore had foreknowledge of a violent attack and filmed it for

   clandestine political purposes is precisely the sort of factual assertion that would tend to “harm

   the reputation of another as to lower him in the estimation of the community,” “deter third

   persons from associating” with him, and make him “appear odious” or “infamous.” Choi, 312 F.

   App’x at 552. Indeed, Gilmore asserts that Creighton’s publications “exposed [him] to hatred

   and contempt,” and “deterred friends, acquaintances, and members of the community from

   associating” with him.46 (Am. Comp. ¶ 50). Furthermore, Gilmore adequately alleges that

   Creighton’s statements are defamatory per se under Virginia law because, at a minimum, they

   would tend to “prejudice” Gilmore in his “profession or trade.” Fuste, 575 S.E.2d at 861.

   Creighton’s insinuation that Gilmore had advance knowledge of a violent attack and filmed it to

   undermine the President of the United States “casts aspersions” on his honesty and “carr[ies] the

   connotation” that he “lacks the integrity and fitness” to serve as a diplomat. Tronfeld, 636

   S.E.2d at 450; JTH Tax, 8 F.Supp.3d at 741.

           Finally, Gilmore’s allegations are sufficient at this stage to create a “plausible inference”

   that Creighton published his statements with actual malice.47 Spirito, 350 F.Supp.3d at 481.

   Citing examples, Gilmore alleges that Creighton has published previous articles “accusing

   individuals and government entities of staging controversial and newsworthy events.” (Am.

   Comp. ¶¶ 57, n.35; 59, n.37).       Gilmore presents these previous articles as evidence that

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         Gilmore makes similar allegations with respect to all of Defendants’ publications. (Am.
   Comp. ¶¶ 71, 92, 113, 134).
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           As noted above, because Gilmore has satisfied the more stringent pleading standard
   required of limited public figures, he has also satisfied the lower pleading standard for private
   figures. See Gazette, 325 S.E.2d at 725 (Va. 1985) (outlining standard).
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   Creighton “conceived a storyline about the events in Charlottesville” and then “consciously set

   out to make his false statements” about Gilmore “conform” to that storyline. (Id. ¶ 59).

   Additionally, Gilmore alleges that Creighton “departed from even the most basic journalistic

   standards” by, for instance, failing to “reach out” to him to “confirm the story’s statements.” (Id.

   ¶¶ 51–56). These allegations are concrete and amount to more than a “mere recitation” of the

   actual malice standard: Gilmore points to specific articles Creighton previously published and

   has a personal factual basis to know whether Creighton ever solicited comment or confirmation

   from him. Mayfield, 674 F.3d at 378. Although neither the pursuit of a preconceived narrative

   nor a failure to observe journalistic standards is alone ultimately enough to establish actual

   malice, Gilmore’s factual allegations, taken together, are sufficiently plausible to support an

   inference that Creighton published statements about him with actual malice. See Spirito, 350

   F.Supp.3d at 481; Eramo, 209 F.Supp.3d at 871.

          In sum, the Court finds that Gilmore plausibly alleges that Creighton’s statements in the

   American Everyman article and video are actionable and were published with actual malice.

   Accordingly, Creighton’s motion to dismiss Gilmore’s defamation claim will be denied.

                  ii.     Hoft’s Gateway Pundit Article

          Gilmore alleges that Hoft’s August 14, 2017 Gateway Pundit article “asserts

   unequivocally” that he is a “‘deep state shill’ who is part of the State Department’s attempt to

   cover up its involvement in instigating the attack in Charlottesville.” (Am. Comp. ¶ 63). Under

   the headline “Random Man at Protests Interviewed by MSNBC, NY Times is Deep State Shill

   Linked to George Soros,” Hoft allegedly wrote: “The random Charlottesville observer who was

   interviewed by MSNBC and liberal outlets turns out to be a deep state shill with links to George

   Soros. It looks like the State Department was involved in Charlottesville rioting and is trying to



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   cover it up. But after Deep State got caught they are trying to erase this guy from their records.”

   (Dkt. 29-5 at 2). “[R]epublishing screenshots” from a Reddit thread “to bolster his claims,”

   (Am. Comp. ¶ 63), Hoft asserted that the State Department “later removed any reference of

   Brennan” from its websites. (Dkt. 29-5 at 4–5). After noting that Gilmore worked for Tom

   Perriello and that Perriello was “given $385,000” from George Soros, Hoft wrote: “This

   weekend Brennan Gilmore happened to be in Charlottesville with the rioters. The media knows

   exactly who he is yet played it off like a casual observer. This is how the Deep State is working

   with the liberal media to shape [the] narrative and fool the American people.” (Id. at 8).

          Gilmore plausibly alleges that Hoft’s statements were false, defamatory, and published

   with actual malice. The headline, lede, and original content of Hoft’s article “contain a provably

   false factual connotation” that the State Department was “involved in” orchestrating violence in

   Charlottesville, that Gilmore was not a “casual observer” but rather a “deep state shill”48 working

   on behalf of that effort to “fool the American people,” and that the State Department tried to

   “erase” Gilmore from its records to “cover it up.” Tronfeld, 636 S.E.2d at 450; dkt. 29-5 at 2, 4–

   5, 8. Hoft’s statements are not reasonably classified as expressions of opinion because the

   insinuation that Gilmore attended the rally to orchestrate rioting and spin a misleading media

   narrative is “capable of being proven true or false.” Fuste, 575 S.E.2d at 862. Thus, the Court

   finds that Hoft’s statements are “reasonably capable of conveying” the false factual innuendo

   Gilmore alleges. Pendleton, 772 S.E.2d at 765.

          Moreover, Gilmore adequately alleges that Hoft’s statements about him were defamatory.

   (Am. Comp. ¶ 71). Hoft’s insinuation that Gilmore’s presence at the rally was part of a nefarious

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           Citing an Oxford Dictionary definition, Gilmore alleges that Hoft used the word “shill” to
   mean “[a]n accomplice of a confidence trickster or swindler who poses as a genuine customer to
   entice or encourage others.” (Am. Comp. ¶ 64, n.40). Although Hoft suggests alternative
   definitions, (dkt. 47 at 60), the Court must draw all inferences in Gilmore’s favor at this stage.
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   “deep state” effort to orchestrate rioting and mislead the public would naturally “tend to harm”

   Gilmore’s reputation and “deter third persons from associating” with him.              Eramo, 209

   F.Supp.3d at 876. Gilmore also plausibly alleges that Hoft’s insinuation about him is defamatory

   per se because, at a minimum, this innuendo would tend to “prejudice” him in his profession as a

   diplomat by “cast[ing] aspersions” on his honesty, integrity, and fitness for government service.

   Tronfeld, 636 S.E.2d at 450; JTH Tax, 8 F.Supp.3d at 741.

          Lastly, Gilmore adequately alleges that Hoft published these statements with actual

   malice. Gilmore alleges that Hoft “did not reach out” to him “for comment” and “relied entirely

   on screenshots from an anonymous, disreputable Reddit post as his ‘research’.” (Am Comp. ¶¶

   72–74). Citing examples of previous articles by Hoft “similarly claiming that the ‘Deep State’ is

   attempting to plan a coup to oust President Trump” and that “State Department employees have

   worked together to overthrow governments,” Gilmore alleges that Hoft “invent[ed] a nefarious

   role and identity” for him “to promote this preconceived narrative.” (Id. ¶¶ 79–80, n.44). Taken

   together, these factual allegations are sufficiently concrete to create a “plausible inference” that

   Hoft published his statements with actual malice. Spirito, 350 F.Supp.3d at 481.

          In sum, Gilmore adequately alleges that Hoft’s statements are actionable and were

   published with actual malice. Hoft’s motion to dismiss Gilmore’s defamation claim against him

   will be denied.

                     iii.   McAdoo’s InfoWars Article & Video with Stranahan

          Gilmore alleges that the August 15, 2017 InfoWars article authored by McAdoo and

   accompanying video featuring McAdoo and Stranahan falsely “imply an assertion of fact” that

   his presence in Charlottesville “was not coincidental” but was due to his “participation in Soros-

   and government-staged violence in Charlottesville.” (Am. Comp. ¶ 85). In her brief article



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   introducing the video, McAdoo wrote: “As demonstrated this weekend, a civil war is brewing in

   this country, laying the foundation for a violent coup to take out Trump. Soros-funded NGO’s

   have been able to achieve regime change in other countries. . . . Now, investigative reporter Lee

   Stranahan reveals the same players involved in the Ukraine overthrow are working behind the

   scenes to oust President Trump.” (Dkt. 29-6). In the video, McAdoo stated that there is a “deep

   state coup underway to oust Trump,” and Stranahan asserted that George Soros and the Obama

   administration “sponsored a coup” in Ukraine. (Dkt. 122 at 3, 6). McAdoo and Stranahan

   connected this supposed Ukrainian coup to the Unite the Right rally, stating that the “white

   nationalists in Charlottesville” chanted the “exact same slogan” as “paid protestors” in the

   Ukraine and used “the same tiki torches.” (Id. at 12).

          After describing Gilmore as a State Department employee and “the guy who happened to

   catch that shot” of Fields’s attack, Stranahan spoke about Gilmore while “scenes of violent riots .

   . . from Oliver Stone’s ‘Ukraine On Fire’ film play[ed]” and McAdoo “scrolled through

   Gilmore’s Twitter page.” (Id. at 19; Am. Comp. ¶ 84). Stranahan and McAdoo stated:

          STRANAHAN: [I]n the Maidan [in Ukraine], they needed martyrs. See, they
          need someone dead. . . . If you go to Brennan Gilmore’s page, his Twitter page,
          you’ll see he has a picture of the young woman who was murdered [in
          Charlottesville], and you know what it says? ‘Martyr.’

          McADOO: Wow.

          STRANAHAN: Literally it says, ‘martyr.’ You can’t be more explicit than this. . .
          . I’m a fact-based journalist. The facts are enough. However, the Democrats have
          investigated Trump for a lot less. . . . I think someone really needs to investigate.
          Again, I don’t like to jump to conclusions, I’d like to ask some questions about
          who this kid was, where he came from, what do we know, get it all out in the
          open. . . . [I]f you look at this guy’s bio, it says that he was with the State
          Department. And the fact that he called her a martyr, again, I don’t know 49. . . .
          This is clearly the way she’s being used, is she is a martyr to the cause.

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           Gilmore alleges that Stranahan “looks knowingly at the camera, eyebrows raised, arm
   raised” at this point, while McAdoo “nods comprehendingly, [and] laughs.” (Am. Comp. ¶ 84).
                                                   56

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          McADOO: Right.

          (Am. Comp. ¶ 84; dkt. 122 at 19–22).

          Gilmore adequately alleges that Stranahan and McAdoo’s statements about him were

   false, defamatory, and published with actual malice. Stranahan and McAdoo’s statements in the

   article and video are “reasonably capable of conveying the defamatory innuendo” that Gilmore

   was one of the “players” involved in a Ukrainian coup now using the Unite the Right rally to

   frame Heather Heyer as a “martyr” and “oust President Trump.” Pendleton, 772 S.E.2d at 765;

   dkts. 29-6 at 3; 122 at 3, 6, 12, 19–22. A reasonable viewer could understand Stranahan and

   McAdoo to be implying that Gilmore’s “tribute” to Heyer as a “martyr” indicates that he was

   part of a secret effort to orchestrate violence and thereby create a martyr. Similarly, by stating

   that “the facts” he mentions about Gilmore are “enough,” that “someone really needs to

   investigate,” and that he would “like to ask some questions about who this kid was,” Stranahan

   implies that Gilmore’s presence in Charlottesville was nefarious and worthy of serious

   investigation. (Am. Comp. ¶ 84). Moreover, given McAdoo’s description of Stranahan as an

   “investigative reporter” of “real news,” (id. ¶ 83), and Stranahan’s description of himself as a

   “fact-based journalist,” (id. ¶ 84), a reasonable viewer could have understood the video “as

   stating or implying actual facts” about Gilmore. Schaecher v. Bouffault, 772 S.E.2d 589, 595

   (Va. 2015). Thus, the Court finds that Stranahan and McAdoo’s statements about Gilmore are

   “reasonably capable of the meaning ascribed to them by innuendo.” Va. Citizens Def. League v.

   Couric, 910 F.3d 780, 784 (4th Cir. 2018).

          Furthermore, Gilmore adequately alleges that McAdoo and Stranahan’s statements are

   defamatory. The innuendo about Gilmore described above would “tend to harm” his reputation

   and deter others from “dealing with him.” Eramo, 209 F.Supp.3d at 876. Moreover, for the

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   same reasons discussed with respect to Creighton and Hoft’s statements, Gilmore adequately

   alleges that this innuendo is defamatory per se because it would tend to prejudice him in his

   profession as a diplomat.

          Finally, Gilmore alleges actual malice in sufficient factual detail to withstand a motion to

   dismiss. Gilmore plausibly alleges that neither McAdoo, Stranahan, nor any representative of

   InfoWars or Free Speech Systems ever “reach[ed] out” for comment or confirmation. (Am.

   Comp. ¶ 94). Moreover, Gilmore plausibly alleges that Defendants attempted to “fit [him] into

   [a] preexisting narrative.” (Id. ¶ 99). Citing specific examples, Gilmore alleges that Jones,

   InfoWars, and Free Speech Systems have published similar content “claiming that previous

   national tragedies were ‘false flags’ and ‘inside jobs’ created by the government to push a leftist

   agenda.” (Id. ¶¶ 98, n.56; 164–167). Similarly, Gilmore cites a video Stranahan posted on

   Twitter two days before the InfoWars video was published, in which Stranahan allegedly

   asserted that “the Charlottesville tragedy was a part of a coordinated plan by the CIA and the left

   to undermine the Trump administration through violent protests.” (Id. ¶ 98, n.57). These

   allegations are adequate at this stage to create at least a “plausible inference” of actual malice.

   Spirito, 350 F.Supp.3d at 481.

          In sum, Gilmore states claims for defamation against McAdoo, Stranahan, Jones,50

   InfoWars, and Free Speech Systems. These defendants’ motions to dismiss will be denied.

                  iv.    Jones’s InfoWars Video

          Gilmore alleges that Jones’s August 21, 2017 InfoWars video falsely states “an assertion

   of fact” that Gilmore “participated in a State Department/CIA operation to stage the violence and



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           Jones allegedly republished the article text and video on his YouTube channel. (Am.
   Comp. ¶ 87). ‘Under the republication rule, one who repeats a defamatory statement is as liable
   as the original defamer.” Reuber, 925 F.2d at 712. See also Dragulescu, 223 F.Supp.3d at 509.
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   Fields’[s] car attack in Charlottesville.” (Am. Comp. ¶ 109). Jones allegedly stated:

          I did research, and I confirmed it all. They had known CIA and State Department
          officials in Charlottesville, first tweeting, first being out on MSNBC, CNN, NBC.
          The mayor is involved. Everybody is a cut-out. . . . They got State Department
          and high-level CIA. One guy is paid $320,000 a year on the payroll of [George]
          Soros. He doesn’t just get money from Soros, he personally is paid 320 a year, . . .
          [A]nd he is on the news. And when people pointed out who he was, they took his
          name of[f] the State Department website . . . I mean it’s like WOW, WOW—
          CIA? Your senior guys? And you’re so stupid on TV, ‘oh I saw ‘m run over, I
          saw the racists, I saw the white supremacists attack, oh I’m the guy being
          interviewed first putting out the talking points’. . . . He worked for Podesta too,
          John Podesta. I’ll give you his name and stuff, we’re gonna play a video of him
          on the news. They had him first on every news cast . . . I’m just [a] witness
          standing here . . . formerly worked for Obama, Podesta, Hillary, the CIA . . .

          (Id. ¶ 104).

          Gilmore alleges that the video “then cuts to a narration of the alleged testimony” of an

   anonymous Charlottesville police officer who claims that “the violent clashes [at the rally] were

   ‘set up to further the agenda of the elites.’” (Id.). Telling viewers to “wait ‘til you hear about the

   other actors in this enormous set-up event,” the narrator allegedly said the following as images of

   Gilmore alone and alongside pictures of George Soros were displayed:

          [T]he first man in the scene whose tweet went viral and who was later interviewed
          on mainstream news as a witness just happened to be a State Department insider
          with a long history of involvement in psy-ops? If you think that isn’t fishy, how
          about this? Since the Charlottesville protest, and his appearance in the media, his
          information was suddenly removed from the State Department websites. The
          elites know we’re on to them and are trying to cover their tracks.

          (Id. ¶¶ 104–05).

          Here again, Gilmore adequately alleges that the above statements—some uttered by

   Jones, some by a “narrator” in a video Jones produced and published—were false, defamatory,

   and published with actual malice.          Jones’s video conveys the “provably false factual

   connotation” that, as the title states, “the State Department/CIA [o]rchestrated” the

   “Charlottesville [t]ragedy,” and that Gilmore was an “actor” or “cut-out” in this “set-up event.”

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   Eramo, 209 F.Supp.3d at 875; Am. Comp. ¶¶ 102, 104, 105. Gilmore also plausibly alleges that

   the video falsely states he was personally paid $320,000 “a year on the payroll of [George]

   Soros.” (Am. Comp. ¶¶ 104, 106). Given Jones’s assertion that he “did deep research” and

   “confirmed” all of his claims, (id. ¶¶ 102–104), these statements could “reasonably be viewed”

   not as opinions but as “assertion[s] of actual fact” about Gilmore. Choi, 313 F. App’x at 554.51

          Gilmore also adequately alleges that the statements about him in Jones’s video were

   defamatory. (Am. Comp. ¶ 71). Jones’s insinuation that Gilmore was a “cut out” helping to

   “orchestrate” violence would tend to “lower him in the estimation of the community” and deter

   others from “dealing with him.” Eramo, 209 F.Supp.3d at 876. Moreover, Gilmore plausibly

   alleges that this innuendo is defamatory per se because it prejudices him in his profession by

   impugning his integrity and fitness for government service. Tronfeld, 636 S.E.2d at 450.

          Finally, Gilmore plausibly alleges that Jones, InfoWars, and Free Speech Systems

   published this video with actual malice.     Gilmore asserts that neither Jones nor any other

   representative of InfoWars or Free Speech Systems “reach[ed] out to” him for comment or

   confirmation. (Am. Comp. ¶¶ 115–16). Moreover, Gilmore alleges that Defendants “twisted”

   elements of his personal and professional history to fit a pre-conceived narrative that

   “Charlottesville was a Soros-funded false-flag operation.” (Id. ¶ 121).       In support of this

   allegation, Gilmore provides links to four InfoWars publications52 released in the days before the


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           Defendants contend that viewers would have understood Jones’s statements about
   Gilmore as opinions delivered in Jones’s characteristic “passionate, hyperbolic, over-the-top
   style.” (Dkt. 57 at 19). This argument strains credulity. To be sure, “loose, figurative, or
   hyperbolic language” generally is not actionable. Biospherics, 151 F.3d at 184. But Gilmore
   alleges that Jones’s video bills itself as conveying “shocking revelations” that Jones did “deep
   research” on to “confirm[] it all.” (Am. Comp. ¶¶ 102–104). Assuming the veracity of these
   allegations, such statements plainly communicate to a reasonable viewer that Jones is conveying
   factual information, not mere hyperbole or opinion.
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          These articles’ titles alone strongly suggest that Defendants had already developed a
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   video in question, all of which allegedly convey a narrative that the events in Charlottesville

   were “staged” by some combination of George Soros, Democrats, and the “deep state.”53 (Id. ¶

   101, nn. 58–59).     Gilmore’s factual allegations are sufficient at this juncture to create a

   “plausible inference” that these three defendants published statements about him with knowledge

   of those statements’ falsity or with reckless disregard regarding the statements’ veracity. Spirito,

   350 F.Supp.3d at 481.

          In sum, Gilmore plausibly alleges that statements about him in Jones’s video were false,

   defamatory, and published with actual malice. His defamation claims against Jones, InfoWars,

   and Free Speech Systems will therefore survive.

                  v.       Wilburn’s Allen B. West Article

          Gilmore alleges that Wilburn’s August 19, 2017 article “impl[ies] a clear assertion of

   fact” that Gilmore “participated in a ‘deep state’-Soros conspiracy to stage the violence in

   Charlottesville.” (Am. Comp. ¶¶ 130, 134). Wilburn wrote that a Charlottesville police officer

   “reveal[ed] the truth—or at least his version of it—that what went down in the city was not only

   condoned by city governance but was intentional, orchestrated, and may have been planned as

   long ago as May.” (Dkt. 29-8 at 2). Noting in his own words that the “depth of this conspiracy

   runs deeper,” Wilburn then quoted this officer’s statements as they appeared in a

   “YourNewsWire.com” article. This quoted material mirrors the language attributed to the officer


   fixed narrative of the Unite the Right rally prior to publishing the video in question: “George
   Soros Needs to be Charged and Arrested for Sedition and Causing Charlottesville” (August 14,
   2017); “Breaking: Charlottesville Confirmed Agitprop Staged Event” (August 16, 2017); “Deep
   State Caught Red-Handed Causing Charlottesville Violence” (August 17, 2017); and
   “Breathtaking: Democrats Accused of Hiring Actors Prior to Charlottesville” (August 17, 2017).
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          Gilmore also cites other examples where Jones, InfoWars, and Free Speech Systems
   pursued a similar narrative that various national tragedies—most notably the massacre of
   schoolchildren at Sandy Hook Elementary School in Newtown, Connecticut—were “hoaxes
   created by the government to push a leftist agenda.” (Am. Comp. ¶¶ 120, 167).
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   in Jones’s video, including statements that Gilmore was an “actor” in a “set-up event” and that

   “his information was suddenly removed from State Department websites.” (Id. at 6). Following

   this quoted material, Wilburn wrote: “We need to clarify that these are early accounts and as yet

   unverified, but if true this is very, very serious stuff. It points directly to the reality of the ‘deep

   state’ and . . . to the lengths that the Soros/Clinton/Obama one-world government cabal will go

   in order to realize their desires for ‘fundamental transformation.’” (Id.).

           Gilmore adequately alleges that Wilburn’s article contains false and defamatory innuendo

   about him and was published with actual malice. “[L]ibel-by-implication claims are fraught with

   subtle complexities, requiring courts to be vigilant not to allow an implied defamatory meaning

   be manufactured from words not reasonably capable of sustaining such a meaning.” Jenkins v.

   Snyder, No. 00-cv-2150, 2001 WL 755818, at *4 (E.D. Va. Feb. 6, 2001). Having considered

   the context and tenor of Wilburn’s article, assumed “the truth of all the facts properly pleaded,”

   and given Gilmore “the benefit of all facts implied and fairly and justly inferred from them,” the

   Court finds that Wilburn’s article is “reasonably capable of conveying the defamatory innuendo

   of which [Gilmore] complains.” Pendleton, 772 S.E.2d at 765.

           The article’s title implies that it contains “evidence suggest[ing]” that the events in

   Charlottesville were a “complete set-up,” priming readers to expect truthful reporting on

   nefarious dynamics underlying the rally. (Dkt. 29-8 at 2; Am. Comp. ¶ 125). Additionally,

   Wilburn introduced the alleged officer’s statements about Gilmore by stating that “the depth of

   this conspiracy runs deeper,” implying that Gilmore was part of a “conspiracy” surrounding the

   rally and that the officer had some factual basis for referring to Gilmore as an “actor” in a “set-up

   event.” (Dkt. 29-8 at 5–6). Considered in their full context, these statements are “reasonably

   capable of conveying the defamatory innuendo” Gilmore alleges. Pendleton, 772 S.E.2d at 765.



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          For several reasons, the Court’s conclusion is not altered by Wilburn’s statements that the

   alleged officer’s comments were “his version” of “the truth,” that the officer’s “account[]” was

   “as yet unverified,” and that it would be “serious stuff” “if true.” (Dkt. 29-8 at 2, 6). First,

   Wilburn contradicted these disclaimers by introducing the officer’s statements about Gilmore as

   evidence of a “conspiracy” of considerable “depth,” (id. at 5), and by stating that the officer’s

   account “points directly to the reality of the ‘deep state’” and the lengths “the

   Soros/Clinton/Obama one-world government cabal” will go to achieve “fundamental

   transformation.” (Id. at 6). Second, Wilburn’s “careful choice of words” does not immunize

   him from defamation claims stemming from an article otherwise containing “defamatory

   innuendo.” Pendleton, 772 S.E.2d at 764–65. Virginia law imposes no requirement that a

   “defendant’s words must, by themselves, suggest that the author intends or endorses the

   allegedly defamatory inference.” Id. The Supreme Court of Virginia has rejected such a

   requirement because to embrace it would “immunize one who intentionally defames another by a

   careful choice of words to ensure that they state no falsehoods if read out of context but convey a

   defamatory innuendo in the circumstances in which they were uttered.” Id. See also Carwile, 82

   S.E.2d at 592 (“[I]t matters not how artful or disguised the modes in which the meaning is

   concealed if it is in fact defamatory.”). Accordingly, considering the article in its full context,

   the Court concludes that Wilburn’s article conveys a “provably false factual connotation” about

   Gilmore. Eramo, 209 F.Supp.3d at 875.

          For the same reasons discussed above with respect to Defendants’ other publications,

   Gilmore also adequately alleges that this false innuendo “is reasonably capable of the defamatory

   meaning [he] ascribes to it.” Webb, 752 S.E.2d at 811. Similarly, for the same reasons discussed

   above, Gilmore adequately alleges that Wilburn’s statements about him were defamatory per se.



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   See Tronfeld, 636 S.E.2d at 450; JTH Tax, 8 F.Supp.3d at 741.

          Lastly, Gilmore plausibly alleges that Wilburn, Hickford, and Words-N-Ideas published

   statements about him with actual malice. Gilmore asserts that these defendants never “reach[ed]

   out to” him for comment or confirmation, and never “verified” the “veracity” of the alleged

   police officer’s account. (Am. Comp. ¶¶ 128, 131, 137). These factual allegations are concrete:

   Gilmore can speak directly to whether these defendants ever contacted him, and the article states

   that the officer is “as-yet unidentified” and that the officer’s remarks were “unverified.” (Dkt.

   28-9 at 2, 6). These statements support a plausible inference that Defendants failed to follow

   “journalistic standards” and repeated “another’s words” they knew to be either “false or

   inherently improbable.” Eramo, 209 F.Supp.3d at 871–72. Although such allegations may not

   ultimately be enough to establish actual malice, they are sufficient at this stage to create a

   “plausible inference” of actual malice. Spirito, 350 F.Supp.3d at 481.

          In sum, Gilmore states claims for defamation against Wilburn, Hickford, and Words-N-

   Ideas. Defendants’ motion to dismiss Gilmore’s defamation claims will be denied.

          C.      Gilmore’s IIED Claims

          Defendants next argue under Rule 12(b)(6) that Gilmore fails to state claims for IIED

   against them. (Dkts. 46; 56). To state a claim for IIED under Virginia law, a plaintiff must

   allege that (1) “the wrongdoer’s conduct is intentional or reckless”; (2) “the conduct is

   outrageous and intolerable”; (3) “the alleged wrongful conduct and emotional distress are

   causally connected”; and (4) “the distress is severe.” Russo v. White, 400 S.E.2d 160, 162 (Va.

   1991). Here, there can be no serious dispute that Gilmore sufficiently alleges that Defendants’

   conduct was “intentional or reckless.” (See, e.g., Am. Comp. ¶¶ 285–88). Defendants contend

   that Gilmore fails to adequately allege “outrageous and intolerable” conduct, a causal connection



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   between Defendants’ conduct and Gilmore’s distress, and emotional distress of sufficient

   severity under Virginia law. (Dkts. 47 at 97–102; 57 at 25–26).

          To satisfy the second prong, a plaintiff must show that the defendant’s “conduct has been

   so outrageous, and so extreme in degree, as to go beyond all possible bounds of decency, and to

   be regarded as atrocious, and utterly intolerable in a civilized community.” Russo, 400 S.E.2d at

   162. Accepting the veracity of Gilmore’s allegations, Defendants falsely portray him as a

   member of a “deep state” conspiracy who helped orchestrate violence in Charlottesville and

   filmed Fields’s attack with foreknowledge that it would occur, all for the purpose of undermining

   a sitting president and the “alt-right.” (Am. Comp. ¶¶ 214, 284). This portrayal of Gilmore

   mirrors conduct the Fourth Circuit found extreme and outrageous under Virginia law in Hatfill v.

   New York Times Co., 416 F.3d 320 (4th Cir. 2005). In that case, a newspaper “intentionally

   published false charges accusing [the plaintiff] of being responsible for anthrax mailings that

   resulted in five deaths, without regard for the truth of those charges and without giving [the

   plaintiff] an opportunity to respond.” Id. at 336. Thus, at this stage, the Court finds that Gilmore

   plausibly alleges that Defendants engaged in “outrageous and intolerable” conduct. Russo, 400

   S.E.2d at 162.

          Similarly, Gilmore sufficiently alleges that Defendants’ conduct “proximately caused”

   his emotional distress. Almy v. Grisham, 639 S.E.2d 182, 188 (Va. 2007). Although some of the

   harm Gilmore alleges stems from harassment by third parties who read or watched Defendants’

   publications, (Am. Comp. ¶¶ 146–163), Gilmore alleges that this harassment is fairly traceable to

   Defendants, whose past publications have allegedly resulted in similar harassment. (Id. ¶¶ 164–

   177). Moreover, setting aside the harassment allegedly visited upon Gilmore by third parties,

   Gilmore plausibly claims that Defendants’ publications themselves directly harmed his health



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   and professional reputation. (Id. ¶¶ 180–84, 187).

          Nevertheless, the Court finds that Gilmore has not alleged distress of sufficient severity

   to sustain IIED claims against Defendants. Under Virginia law, liability for IIED “arises only

   when the emotional distress is extreme, and only where the distress inflicted is so severe that no

   reasonable person could be expected to endure it.” Russo, 400 S.E.2d at 163. Although Gilmore

   alleges emotional distress of a serious nature, the harm he claims does not meet Virginia law’s

   high standard for IIED claims for three reasons. First, much of the distress Gilmore alleges—

   such as stress, anxiety, sleeplessness, depression, and seeking counseling—has been deemed

   insufficiently severe by the Supreme Court of Virginia. See, e.g., Harris v. Kreutzer, 624 S.E.2d

   24, 34 (Va. 2006) (finding symptoms including “nightmares, difficulty sleeping, extreme loss of

   self-esteem and depression,” “psychological treatment and counseling,” “mortification,

   humiliation, shame, disgrace, and injury to reputation” insufficient); Russo, 400 S.E.2d at 163

   (finding plaintiff’s allegations of emotional distress insufficiently severe where plaintiff alleged

   “she was nervous, could not sleep, experienced stress and ‘its physical symptoms,’ withdrew

   from activities, and was unable to concentrate at work”). Second, although Gilmore alleges that

   he has reduced his social activities and may have to reduce his client-facing work, Gilmore has

   not alleged that he is “functionally incapable of carrying out any of [his] work or family

   responsibilities.” Almy, 639 S.E.2d at 188. Indeed, the amended complaint makes clear that

   Gilmore, although inhibited personally and professionally, continues to maintain employment

   and occasionally “go[] out” socially. (Am. Comp. ¶¶ 184, 187).

          Third, a significant portion of the distress Gilmore alleges is of a speculative nature. For

   instance, Gilmore alleges that he “may need to remove himself altogether” from his company’s

   client-facing work but does not allege that he has actually been forced to do so. (Id. ¶ 187



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   (emphasis added)). Likewise, Gilmore claims that if he returns to the State Department, it will

   be “exceedingly difficult” for him to work as a diplomat abroad, but Gilmore does not allege that

   he has actually attempted to return to the State Department as a diplomat and been denied a role

   serving in this capacity. (Id. ¶ 88). Additionally, Gilmore alleges that “[i]f [he] is able to return

   to the State Department, it is likely that government officials” who have “suggested that the

   government needs to be purged of so-called ‘Deep State’ actors” will “work to harm [his] career

   or oust him from government service entirely.” (Id. ¶¶ 188–189 (emphasis added)). But, here

   again, Gilmore alleges speculative future harm.

          In sum, the Court finds that Gilmore fails to allege distress of sufficient severity to

   support IIED claims against Defendants under Virginia law. These claims will be dismissed.

          V.      Defendants’ Motions for Immunity & Attorneys’ Fees under § 8.01-223.2

          Defendants move for immunity and attorneys’ fees under Va. Code § 8.01-223.2. (Dkts.

   46; 56; 58). Section 8.01-223.2 provides that “[a] person shall be immune from civil liability”

   for a “claim of defamation based solely on statements . . . regarding matters of public concern

   that would be protected under the First Amendment to the United States Constitution made by

   that person that are communicated to a third party.” However, immunity does not apply “to any

   statements made with actual or constructive knowledge that they are false or with reckless

   disregard for whether they are false.”54 Va. Code § 8.01-223.2(A). Since Gilmore has plausibly

   alleged defamation with actual malice against all defendants except West—who will be

   dismissed for lack of personal jurisdiction—Defendants’ motions for immunity under § 8.01-

   223.2 will be denied. Moreover, Defendants’ motions for attorneys fees and costs under § 8.01-



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           Immunity under § 8.01-223.2 does not extend to IIED claims, so the Court cannot grant
   immunity or attorneys’ fees or costs under § 8.01-223.2 on the basis that Gilmore’s IIED claims
   will be dismissed.
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   223.2 will similarly be denied, as the Court “may” award attorneys fees under § 8.01-223.2 only

   when an individual “has a suit against him dismissed pursuant to” § 8.01-223.2.

                                                CONCLUSION

          For the foregoing reasons, the Court finds that it has subject matter jurisdiction over this

   action pursuant to 28 U.S.C. § 1332(a) and can exercise specific personal jurisdiction over all

   defendants except West, who will be dismissed from this action without prejudice. Gilmore

   adequately pleads defamation under Virginia law against all remaining defendants, and his

   defamation claims will therefore survive. Gilmore does not, however, adequately plead IIED

   under Virginia law, and his IIED claims will thus be dismissed without prejudice. Defendants’

   motions for immunity and attorneys fees under Va. Code § 8.01-223.2 will be denied.

          An appropriate order will issue.

          Entered this _____
                       29th day of March, 2019.




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